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                                   Exhibit 8:
Attachment C to I-70 East Supplemental Environmental Impact Statement
   and Section 4(f) Evaluation: Alternative Analysis Technical Report,
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              I-70 EAST
              SUPPLEMENTAL DRAFT ENVIRONMENTAL IMPACT STATEMENT
              AND SECTION 4(F) EVALUATION




              ALTERNATIVE ANALYSIS
              TECHNICAL REPORT
              ATTACHMENT C




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  List of acronyms
  BNSF            Burlington Northern Santa Fe
  CDOT            Colorado Department of Transportation
  CFR             Code of Federal Regulations
  Denver          City and County of Denver
  DRCOG           Denver Regional Council of Governments
  EIS             Environmental Impact Statement
  FHWA            Federal Highway Administration
  FTA             Federal Transit Administration
  PACT            Preferred Alternative Collaborative Team
  ROD             Record of Decision
  ROW             Right of way
  RTD             Regional Transportation District
  TOD             Transit-oriented development




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  1.            Introduction
  The I-70 East Environmental Impact Statement (EIS) is a joint effort between the Federal Highway
  Administration (FHWA) and the Colorado Department of Transportation (CDOT). The intent of the EIS is to
  identify potential highway improvements along I-70 in the Denver metropolitan area between I-25 and Tower
  Road and to assess their potential effects on the human and natural environment.


  1.1.          Project limits
  As shown in Figure 1, the project limits extend along I-70 between I-25 and Tower Road. The project area
  covers portions of Denver, Commerce City, Aurora, and Adams County. This area includes the
  neighborhoods of Globeville, Elyria and Swansea, Northeast Park Hill, Stapleton, Montbello, and Gateway.
  The portion of Aurora in the project area is referred to as the Aurora Neighborhood in this report. Each
  resource has a specific study area based on the resource.

  Figure 1.          Project area



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                        N
                                                           Commerce City                                                                       t=
                                                                                                                                                ED
                        yy
                                                                                                              56th Ave



                                                                                                          Montbello                  Gateway
           Globeville                 Jm                            47th Ave
                                                                                        Stapleton

                         Elyria & Swansea                  Northeast
                                                           Park
                                                           Park HUI
                                                                Hill

                                                               MLK RBlvd
                                                               MLK   lvd
                                                                                                                            Aurora
                                                                                                         ~
         Denver                                                        Project Limits
                                           Colorado Bfvd




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                                                    Blvd




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          I- 1
           -7-1 Project Area                                                   Neighborhood Boundaries                Afh            Freight Flaitroads
                                                                                                                                             Railroads




  1.2.          Project background
  Analysis of I-70 began in June 2003 as part of the I-70 East Corridor EIS, a joint effort conducted by CDOT,
  FHWA, the Regional Transportation District (RTD), the Federal Transit Administration (FTA), and the City
  and County of Denver (Denver). In June 2006, CDOT and RTD determined that the highway and transit
  elements of the I-70 East Corridor EIS process serve different travel markets, are located in different
  corridors, and have different funding sources. Therefore, the highway and transit components of the analysis
  were separated.

  After the project separation, the highway alternatives that made it through the screening process by
  addressing the purpose and need of the project were fully evaluated in the Draft EIS, published in November
  2008. With the release of the 2008 Draft EIS, the public and agencies had an opportunity to review and



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  comment on it. Public hearings were held to present the information and encourage formal comments. Due
  to the complexity of the project and the extensive amount of public comments received during the formal
  comment period, the project team decided to form the Preferred Alternative Collaborative Team (PACT) as
  part of a collaborative process with project stakeholders to recommend a preferred alternative. Through this
  collaborative process, additional analysis was performed, which resulted in the elimination of two previous
  alternatives and the addition of a new alternative option.

  Because more than four years has passed since the 2008 Draft EIS was first published, many federal and
  state regulations and requirements have changed. Additional analysis and public involvement efforts were
  performed to determine the validity of the alternatives that were considered reasonable alternatives in the
  2008 Draft EIS. Based on the public comments, the additional analysis, and the PACT collaborative process,
  the project team determined that the Realignment Alternatives are no longer reasonable. Consequently, a
  new alternative option was designed to address the public concerns and incorporate their comments. Due to
  the changes in the alternatives, outdated census data, and new federal and state laws and regulations, the
  analysis in the 2008 Draft EIS was revisited, and this Supplemental Draft EIS was written.


  1.3.        Report overview
  This report is focused on the alternatives analysis after the 2008 Draft EIS was published. It outlines the
  changes since the 2008 Draft EIS and the efforts made to revise the alternatives and design a new
  alternative option to address the public concerns. The process used to preliminarily identify the Preferred
  Alternative also is discussed in this report. All the efforts and analysis made before the public release of the
  2008 Draft EIS are available in the Alternatives Analysis and Screening Process Technical Report, dated
  November 2008.


  1.4.        History of Project Alternatives
  The project purpose, need, goals, and objectives were used to develop screening criteria to evaluate the
  alternatives in the 2008 Draft EIS. Due to the complexity of the project and a large number of initial
  alternatives, a four-level screening process, shown in Figure 2, was used to filter the full range of alternatives
  considered to the set of reasonable alternatives that were fully evaluated in the 2008 Draft EIS.

  This four-level screening process resulted in the following reasonable Build Alternatives, which were fully
  evaluated in the 2008 Draft EIS:
     No-Action
     Alternative 1—Existing Alignment
     Alternative 3—Existing Alignment with tolled-express lanes
     Alternative 4—Realignment
     Alternative 6—Realignment with tolled-express lanes

  The screening process eliminated Alternatives 2 and 5 (adding high-occupancy vehicle lanes), so they were
  not fully evaluated in the 2008 Draft EIS. Additional details about the alternatives evaluated and the
  screening process are in the Alternatives Analysis and Screening Process Technical Report (2008 Draft
  EIS).




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 Figure 2.     Alternative screening process




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 2.         Analysis after the 2008 Draft EIS
            public release
 The Draft EIS was released for public review in November 2008. During the public hearings on the 2008
 Draft EIS, CDOT committed to select the Preferred Alternative in partnership with the corridor communities
 and stakeholders.

 When the public comment period ended, the document had received more than 300 comments. The
 comments made it clear that none of the evaluated alternatives received major support. This prompted
 CDOT and FHWA to undertake a more aggressive public involvement process to identify the needs of the
 public in greater detail. The lead agencies then decided to revisit and review the reasonable alternatives in
 more detail. To address the concerns and develop an alternative that meets the project’s purpose, need,
 goals, and objectives and satisfies the public and agencies’ expectations, the project team worked with the
 community and interested stakeholders along the corridor to develop a preferred alternative.

 After going through a collaborative process that involved public, businesses, and agency stakeholders and
 conducting many one-on-one meetings, CDOT and FHWA reexamined the 2008 Draft EIS analysis to modify
 and enhance the alternatives and to satisfy the public comments while meeting the project’s purpose and
 need. As a result, the Supplemental Draft EIS alternatives and options were developed, which are discussed
 in more detail in subsequent sections.

 The first step in this extensive outreach to identify the preferred alternative was forming the PACT.


 2.1.       PACT process
 The PACT included stakeholders from CDOT, FHWA, Adams County, City of Aurora, City of Commerce City,
 Denver, impacted communities, and business associations. The intent of this process was to come to a
 consensus and identify a preferred alternative through a collaborative process including the public and
 agency stakeholders.

 The group convened once a month to discuss different subjects related to the Build Alternatives in the 2008
 Draft EIS to identify which would address the project purpose and need the best while benefiting the
 communities and businesses in the area. In addition to PACT members, the community was invited to the
 PACT meetings and was given the opportunity to review and comment on the screening and criteria that
 were developed. More details regarding the PACT are available in Attachment D, Community Outreach and
 Agency Involvement Technical Report, of the Supplemental Draft EIS. Figure 3 outlines the activities during
 the PACT process.




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 Figure 3.         PACT process


           2009                         2010                                        2011
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                    JASON      A M J J ASOND
                              FMAMJJASOND



       Outstanding
     Data Questions

       PACT Representative
                Selection
                Seiedion

         Community and Business Workshop      •
                               PACT Meetings

                                                          Corridor-WideMeeting
                                                          Corridor-Wide MeetingAK
                                                                                ilk
                                                     PACT Recommendations to Date IMF
                                                                                   IMF

                                            Community andBusiness
                                            Community and BusinessWorkshop
                                                                  Workshop11s

                                                                  Conditional Agreement


                                                                            PACT Final Results




 The following set of screening parameters was developed to evaluate the 2008 Draft EIS Build Alternatives:

      Neighborhood quality: maintaining quality of life and protecting community values
      Transportation: providing mobility, access, and safety improvements to the corridor
      Economic: providing economic activity in the corridor
      Environmental: minimizing impacts to human and natural environments

 Several evaluation objectives were derived from the screening criteria to evaluate the Current Alignment and
 the Realignment Alternatives. Different assessment metrics were allocated to each criterion to evaluate the
 alternatives. The evaluation table in Appendix A of this report shows the evaluation criteria and how each
 alternative was assessed based on the metrics.

 PACT members did not reach a consensus on a preferred alternative; however, there was significant PACT
 and public support for the Current Alignment North Shift during this outreach process. The public supported
 the Current Alignment North Shift because it keeps a considerable number of jobs and more revenue,
 provides opportunity for improvements to the Swansea Elementary School, and includes an agreement from
 the Nestlé Purina PetCare Company (“Purina”) with Denver to reduce odor in the neighborhood (Purina
 would agree to implement measures for a major odor reduction).

 Per the PACT protocols approved July 2010, “If consensus is not possible, then the level of support and
 dissent will be noted and all deliberations and products of the PACT will be considered by the lead agencies
 in their decision making.” In this case, CDOT and FHWA, as the lead agencies, will make the final alignment
 decision, taking into consideration all of the comments received on the 2008 Draft EIS, subsequent outreach
 activities, and all the work the PACT performed throughout the process.




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 2.2.       Post PACT activities
 The PACT process conclusion was published on October 12, 2011. The report indicated that a consensus
 was reached on the Current Alignment Alternative, but no consensus was achieved on the North Shift or
 South Shift. Denver conducted another follow-up neighborhood meeting on November 9, 2011, with the
 purpose of listening to the public’s concerns and initiating a series of community work groups that focused on
 different areas of public concern. Denver’s main focus for these workshops was to develop options and
 enhancements to get the community on board with the Current Alignment North Shift. Five community work
 groups were formed to target the main areas of community concerns:

    School and recreation center
    Housing impacts and relocation
    Future enhancements
    Business interests and redevelopment
    Neighborhood communications

 The goal for these community work groups was to involve the neighborhoods in discussion and
 recommendations regarding the various impacts and mitigations of the Current Alignment North Shift and to
 recommend a preferred alternative.


 3.         CDOT and FHWA’s actions based on
            the public input
 Additional outreach activities were performed by Denver after the conclusion of the PACT process to gain
 more public support for the Current Alignment North Shift. Based on the outcomes of the Denver outreach
 activities and the PACT process, CDOT and FHWA revisited the previously eliminated alternatives to confirm
 the validity of their elimination. This exercise resulted in development of a new alternative, which is an
 enhanced version of the combination of two previously eliminated alternatives (tunnel and below grade).


 3.1.       Changes to the 2008 Draft EIS alternatives
 Based on the comments received during the 2008 Draft EIS public review period and the analysis during the
 PACT process, changes were made to the 2008 Draft EIS alternatives to fulfill the public’s requests while
 meeting the project’s purpose and need. As a result, the No-Action Alternative and the Existing Alignment
 Alternatives were modified to reduce impacts, the Realignment Alternatives were eliminated, and an
 alternative version to the Current Alignment Alternative was introduced.

 3.1.1.     No-Action Alternative
 There are no major changes to the No-Action Alternative since the release of the 2008 Draft EIS. The design
 for the No-Action Alternative has been adjusted to use the same criteria as the Revised Viaduct Alternative.
 As a result, the construction limits for the No-Action Alternative are reduced by approximately 30 feet
 compared to the limits presented in the 2008 Draft EIS.

 3.1.2.     Existing Alignment Alternative (Alternative 1)- Revised Viaduct
            Alternative
 Several comments on the 2008 Draft EIS involved concerns regarding the project’s large footprint and the
 impacts to the residential and business properties, specifically between Brighton Boulevard and Colorado
 Boulevard. The 2008 Draft EIS Existing Alignment Alternative was designed to place 46th Avenue adjacent
 to the highway and place the highway on fill rather than on a viaduct structure. To reduce the footprint and



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 minimize impact to the surrounding build environment, the designs were modified to place 46th Avenue
 under the viaduct from Brighton Boulevard to Colorado Boulevard (typical section is shown in Figure 4). As a
 result of the design modifications, the footprint was reduced approximately 200 feet. Additional north-south
 connectivity also was provided to address the public concerns regarding the community connectivity. The
 Existing Alignment Alternative moved forward for further analysis in the Supplemental Draft EIS is identified
 as the Revised Viaduct Alternative, North Option and the Revised Viaduct Alternative, South Option. A
 detailed map of the revised alternatives is available in Attachment A, Alternative Maps, of the Supplemental
 Draft EIS.

 Additional design refinements have been completed for the Revised Viaduct Alternative between Colorado
 Boulevard and Tower Road. As a result, impacts were minimized—including required property acquisitions.

 Figure 4.          Revised Viaduct Alternative typical section, Brighton Blvd. to Colorado Blvd.

                                                                 197'

                12'    12'
                       12  12'   12'     12'   12'      12'   12' 2.3
                                                                  23 12'   12'     12'    12'   12'         12'       12'   12'
               Shldr AcceV
                     Accei     6eneral-purpose
                               Gene  ral-purnose lanes
                                                  lanes       Shoulders
                                                              Shou ders          General-purpose lanes              Accel/ Shldr
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        1.5'.-                                                                                                                  .-15'
                     decal
                     decel                                                                                          decal
                                                                                                                    decel
                      lane                                                                                           lane

                                                                                                                                        20'


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                                                                            .. 11 '      11:          11'         11'   11' .
                                                                           4 k                                           t
                                                                                                                  •e5, - -


                                                                            Westbound                   Eastbound
      Sidewalk                                                             46th Avenue                 46th Avenue              Sidewalk
                                                                                                                                Sidewalk=




 Colorado Boulevard to Quebec Street
 In the 2008 Draft EIS, the Revised Viaduct Alternative (previously called the Existing Alignment Alternative)
 included a north and south option between Colorado Boulevard and Quebec Street that resulted in
 substantial property impacts. The design revisions completed since 2008 eliminated these north and south
 options. Instead, the Revised Viaduct Alternative generally matches the existing I-70 alignment, but includes
 widening on both sides. Slip ramps and associated acceleration/deceleration lanes at Monaco Street and
 Dahlia Street were moved closer to Holly Street, providing full access at this location. In addition, sidewalks
 were added to Stapleton Drive. Property impacts are reduced within the section because of these
 modifications.

 Quebec Street to I-225
 In the 2008 Draft EIS, the design included modification of the Quebec Street and I-270 southbound
 interchange ramps. The highway modifications completed since 2008 eliminated the need for these
 improvements, and the construction limits were adjusted accordingly.

 Since the completion of the 2008 Draft EIS, CDOT reconstructed the I-70 bridge over Sand Creek and
 Denver built a new interchange at I-70 and Central Park Boulevard. Both projects were planned and
 completed to not preclude the I-70 project alternatives. Design revisions account for these changes in the
 existing conditions.

 I-225 to Tower Road
 Since the completion of the 2008 Draft EIS, the revised design between I-225 and Tower Road has changed.
 With elimination of the Tower Road widening, the design uses existing infrastructure wherever possible to



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 avoid unnecessary reconstruction. A more detailed design layout was completed to determine the work
 required, with the design focusing on reducing impacts and costs.

 There are no changes to the interchange ramp junctions or the proposed ramp and crossing street
 intersection laneage. A summary of the proposed interchange improvements within this section as a result of
 additional design refinement is as follows:

    Chambers Road
     -    The Chambers Road bridge over I-70 is sufficiently wide (268 feet) to accommodate nine lanes (six
          through-lanes, two northbound left turn lanes, one southbound left).I-70 maximum proposed
          widening is 15 feet southerly and 20 feet northerly under the Chambers Road bridge. The widening
          can be accomplished through removal of the slope paving and construction of a wall.
     -    Add a southbound right-turn lane from Chambers Road to westbound I-70.
     -    Restripe the northbound right-turn lane from Chambers Road to eastbound I-70 to a combination
          through-lane and right-turn lane.
     -    Add two lanes on the eastbound I-70 exit ramp to Chambers Road.

    Airport Road
     -    The Airport Road bridge over I-70 already includes enough travel lanes and does not require
          widening.
     -    The Airport Road and I-70 ramp intersections have adequate required geometrics, so no
          improvements are required.
     -    I-70 widening does not impact the Airport Road bridge, so no modification is required.
    Tower Road
     -    Widen the I-70 eastbound exit ramp to Tower Road by one lane for an additional left-turn lane.

 3.1.3.      Tolled-express lane alternative (Alternative 3) – Managed Lanes
             Option
 Managed lanes, identified as tolled-express lanes in the 2008 Draft EIS, vary from general-purpose lanes
 and other traditionally funded lanes because they usually incorporate operational strategies as a way to
 manage the level of congestion on the highway. In December of 2012, the Colorado Transportation
 Commission adopted Policy Directive 1603.0, which requires that managed lanes be strongly considered
 during the planning and development of capacity improvements on any state highway facilities (CDOT Office
 of Policy & Government Relations, 2013). The Supplemental Draft EIS, therefore, must consider managed
 lanes because of the additional capacity provided by the Build Alternatives.

 The Tolled-Express Lanes Alternative evaluated in the 2008 Draft EIS included barriers to separate the
 managed lanes from the general-purpose lanes. The Managed Lanes Option introduced by this document
 uses a striped buffer to separate the proposed managed lanes from the general-purpose lanes. The new
 buffer-separated Managed Lanes Option reduces the footprint from the previous barrier-separated
 alternative by 28 feet. It also extends from I-25 to Tower Road, while the previous Tolled-Express Lanes
 Alternative was from Colorado Boulevard to I-225. In comparison with the General-Purpose Lanes Option,
 the Managed Lanes Option does not require larger construction limits and also does not require acquisition
 of additional private property. However, a larger impact area occurs where direct connections are designed
 from the managed lanes to I-270, I-225, and Peña Boulevard. Figure 5 shows a typical section of the
 Managed Lanes Option between Colorado Boulevard and I-270.




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 Figure 5.              Managed Lanes Option typical section between Colorado Boulevard and I-270

                                                                                   178.3'

         12'     12'          12'    12'              4'     12'         12'        23' 12'
                                                                                12' 2.3'             12'       12'     4'     12'       12'           12'         12'

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 3.2.           Elimination of the Realignment Alternatives (Alternative 4
                and Alternative 6)
 Alternative 4, referred to in the 2008 Draft EIS as “Realignment,” and Alternative 6, referred to in the 2008
 Draft EIS as “Realignment, Tolled,” were the Realignment Alternatives that would have realigned I-70 to the
 north through north Denver and South Commerce City between Brighton Boulevard and Quebec Street.
 Based on lack of support for these alternatives from the public and stakeholders and the new screening
 parameters that were developed during the PACT process (see Appendix A), the project team re-examined
 the Realignment Alternatives shown in Figure 6 (both general-purpose and tolled-express lanes). Several
 parameters were set to identify if the Realignment Alternatives should continue to be evaluated as
 reasonable alternatives in the Supplemental Draft EIS. Analysis using these parameters showed that the
 Realignment Alternatives do not meet the project’s purpose and need and should not be considered
 reasonable alternatives. The result of the analysis is documented in this section.

 Figure 6.              Realignment Alternatives

                                             ca
                                         ct,                                    Realignment Alternatives
                                                                                (Alternative 4 and Alternative 6)

                                                                                                                     Existing 1-70




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 3.2.1.     Reasons to eliminate the Realignment Alternatives
 The following subsections explain in detail the main reasons the Realignment Alternatives are not
 reasonable and were eliminated.

 They do not meet the project’s purpose and need.
 The main reason for the elimination of this alternative is that it does not meet the project’s purpose and need,
 which is to implement a transportation solution that improves safety, access, and mobility and addresses
 congestion on I-70 in the project area. Although the Realignment Alternatives improved mobility on the
 highway, they diverted some of the highway traffic onto local streets, introducing safety, access, and mobility
 issues at the local street level, and therefore failing to meet the mobility purpose of the project. The
 Realignment Alternatives diverted a high volume of vehicles from the highway to 46th Avenue, increasing the
 forecasted daily traffic to 50,000 vehicles per day, which is 10 to 20 times higher than the current volume.
 Adding more traffic on 46th Avenue will cause congestion concerns in the surrounding neighborhoods.

 Safety would not be improved with the Realignment Alternatives. Delivery trucks and other large vehicles
 would need to use local streets frequently to reach the future highway location from the industrial and
 warehousing businesses located near the existing highway. The high traffic volumes on 46th Avenue and the
 truck traffic could degrade the quality of the area neighborhoods and cause safety concerns for
 neighborhoods, pedestrians, bicyclists, and motorists.

 They do not maintain the current location/plan for the FasTracks National Western Complex
 station on the North Metro Line, nor reserve the potential for a larger transit-oriented
 development (TOD) area.
 In the 2008 Draft EIS, there was acknowledgement of the North Metro Corridor in Chapter 4, Transportation
 Impacts and Mitigation Measures (page 4-36). There was no analysis completed on the potential for conflicts
 between this transit line and the Realignment Alternatives because the plans for the station location near the
 National Western Stock Show complex had not been finalized. In the time between the publication of the
 2008 Draft EIS and the formation of the PACT, RTD developed more detailed plans for this station location.

 Based on Denver’s Transit Oriented Development Strategic Plan, published in August 2006, this area offers
 a great opportunity for TOD as an urban center in the long term. While there is little immediate demand for
 housing or even higher density employment uses in this area, Denver has performed some preliminary
 planning around the station area. Denver’s main focus in the area is to prevent interim development uses in
 the surrounding area that sub-optimize the future transit-oriented development potential. These plans were
 shown to the public and PACT members at the December 2010 meeting. The Realignment Alternatives
 conflicted with these plans because the highway would be located over the top of the station, which would
 limit the available space for TOD and create issues for station access at 48th Avenue. The highway will be
 acting as a barrier between the proposed station and neighborhoods, blocking users from accessing the
 station easily.

 They do not preserve the National Western Complex so that it can continue to operate in its
 current location with its current programs.
 The negative and positive aspects of preserving the National Western Complex at its current location were
 discussed in the 2008 Draft EIS (page 5.2-50). This facility is located at the western edge of the Elyria and
 Swansea Neighborhood and contributes to the community character. It also contributes to the neighborhood
 economics by creating temporary jobs during the Stock Show season in January.

 The National Western Stock Show has been held in Denver for 106 years in its current location. Its mission
 is to serve producers and consumers throughout the world with a premier stock show, rodeo, and horse
 show in January of each year. The National Western Stock Show facility, which also includes the Denver
 Coliseum, hosts other events during the rest of the year, including concerts, circuses, sports events,
 tradeshows, and other large gatherings. The 16-day stock show is a major entertainment venue in Denver
 during January, hosting professional rodeos, horse shows, and Colorado's largest tradeshow, with more than
 350 participating vendors. The overall attendance in 2011 at the Stock Show events was recorded at
 644,818, while the highest attendance was recorded in 2006 at 726,972. This facility is also identified as a


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 major historic resource in the community, as discussed on page 5.6-14 and page 7.1-61 of the 2008 Draft
 EIS.

 Because of these reasons, it is important to keep the National Western Stock Show complex in the same
 location. Based on discussions with the complex management, the Realignment Alternatives make it difficult
 for the National Western Stock Show complex to operate at its current location. In November of 2012,
 Denver published a press release committing to keep the National Western Stock Show in Denver. Per the
 November 13, 2012, press release, “The National Western’s intention is to remain at its current location in
 Denver’s Elyria-Swansea neighborhood and explore forging stronger partnerships and greater coordination
 with Art & Venues Denver and VISIT DENVER.”

 They do not maintain two major highways in the area (I-70 and I-270) for safety, multiple
 route choices, and emergency access.
 The 2008 Draft EIS did not fully describe the importance of I-270 serving as the alternate route to I-70 for
 emergency access during major incidents or extreme congestion. I-70 and I-270 serve as reliever routes
 when one highway or the other becomes congested or closed due to accidents. With the Realignment
 Alternatives, the redundancy of the highway network, which is important for emergency response in the area,
 is limited. If I-70 was realigned to combine with I-270, there would be no alternate highway connecting the
 Denver neighborhoods to the rest of the region.

 The Realignment Alternatives cause negative traffic impacts on the project area
 neighborhoods.
 The existing and future traffic volumes are disclosed in the 2008 Draft EIS; however, this information was
 presented and analyzed in more detail during the PACT process. The existing and future volumes are
 included in Chapter 4, Transportation Impacts and Mitigation Measures (pages 4-6 and 4-27) of the Draft
 EIS, but are separated in the document and there is no direct comparison of the traffic volume.

 Table 1 compares the existing (2012) traffic volumes on 46th Avenue with the projected (2030) traffic
 volumes for the Current Alignment and Realignment Alternatives. As shown in the table, there is a noticeable
 difference between the existing daily volumes and the Current Alignment and Realignment projected
 volumes. The additional volume on 46th Avenue with the Realignment Alternatives is caused by diverting the
 traffic that is going to access the areas between Brighton Boulevard and Colorado Boulevard to 46th Avenue
 instead of I-70. This increased volume would be a barrier to the community, a safety hazard to the adjacent
 elementary school, and would make it difficult for vehicles and bikes/pedestrians to move easily through the
 neighborhoods.




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 Table 1.         Existing and projected average daily traffic

                                                              Daily Traffic Volumes (vehicles per day)
      46th Avenue Roadway Section                       Existing*         Current Alignment            Realignment
                                                          2012                  2030                      2030
 Washington Street to Brighton Boulevard                  3,800                   1,000                   10,000
 Brighton Boulevard to York Street                        2,900                  10,600                   49,600
 York Street to Josephine Street                         5,900*                  10,200                   40,900
 Josephine Street to Steele Street                        7,000                   3,700                   36,900
 Steele Street to Colorado Boulevard                      2,800                    N/A                    28,800
 Colorado Boulevard to Dahlia Street                       N/A                     N/A                    27,700
 Dahlia Street to Holly Street                             N/A                     N/A                    20,800
 Holly Street to Monaco Street                             N/A                     N/A                    23,200
 Monaco Street to Quebec Street                            N/A                     N/A                    51,700
 Quebec Street to I-70                                     N/A                     N/A                    59,500
 * The existing condition daily traffic volumes were estimated based on the available 2012 peak traffic counts.
 Note: 46th Avenue terminates west of Steele Street in the Current Alignment. For the Realignment, the I-70 viaduct
 between Brighton Boulevard and Colorado Boulevard would be removed and 46th Avenue would be improved to a
 four-lane arterial between Brighton Boulevard and Quebec Street/I-70.


 By adding more traffic on 46th Avenue, the surrounding neighborhoods will have more safety concerns. The
 sense of neighborhood and community cohesion will be impacted by vehicles using 46th Avenue to avoid the
 extra miles of travel with the Realignment Alternatives. The high traffic volumes on 46th Avenue could
 degrade the quality of the neighborhoods in the area and cause safety concerns for pedestrians, bicyclists,
 and motorists.

 They do not minimize the impacts to Sand Creek and the Sand Creek Regional Greenway.
 Impacts of the alternatives on Sand Creek are fully documented in the DEIS, and no new information was
 developed for this screening. The Realignment adds an additional river crossing and moves I-270 closer to
 the creek. The Sand Creek Regional Greenway is one of the rare natural resources in this part of the city.
 The Realignment creates a loss of 1.06 acres of permanent wetlands compared to 0.31 acres for the Current
 Alignment. Because the greenway is an essential natural resource for the community, the Realignment was
 not reasonable due to greater impacts to the greenway.

 They add visual and access barriers to the South Platte River and Riverside Cemetery.
 Visual impacts of the alternatives on the South Platte River and Riverside Cemetery were not documented in
 the Draft EIS. Riverside Cemetery is listed in the National Register of Historic Places. Although there will be
 no right of way needed from the Riverside Cemetery property, there would be noise, visual impacts, and
 historic setting changes in the area. The construction of the realigned, elevated freeway and noise barriers
 would introduce a major highway facility between the cemetery and community, approximately 150 feet
 southeast of the cemetery property, where none previously existed. As a result, the highway would be
 designed to be placed on fill on either side of the bridge that would go over the cemetery driveway and it
 would push the driveway under the bridge at existing grade. These changes were identified as an adverse
 effect under Section 106 of the National Historic Preservation Act in the Draft EIS because CDOT, the State
 Historic Preservation Officer, Section 106 consulting parties, PACT members, and the community believe
 there is a high value to this historic resource. The cemetery is an important part of the Elyria and Swansea
 community, since many residents have family members buried there. Residents from the nearby
 neighborhood and other parts of the metropolitan area support the Riverside Cemetery as volunteers and
 perform valuable services for the cemetery. The cemetery also has some of the last undeveloped land in this
 part of the metropolitan area, and supports a vibrant wetland along the South Platte River. If the highway is



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 constructed next to Riverside Cemetery, it would become a physical barrier to this important community
 resource.

 The River South Greenway Master Plan was finalized in 2010 with a vision to continue valuable public
 investment along the South Platte River, allowing the city’s “greatest natural resource” to realize many
 benefits of a healthy, connected, and attractive urban waterway. Cities across the nation have reinvested in
 public infrastructure along their urban waterways, understanding that the development of new parks, open
 spaces and greenway corridors can act as a central, unifying theme in their successful redevelopment. To
 that end, the purposeful redevelopment of Denver’s greatest natural resource, the South Platte River, is a
 key component in Denver’s effort to create a sustainable city where people want to live, work, and play in an
 urban environment. The Realignment Alternatives created too great of a barrier between the neighborhoods
 and the South Platte River.

 They create additional curves and lane miles.
 Although the figures of the alternatives were included in the document, this issue was not fully described in
 the 2008 Draft EIS. The Realignment Alternatives will require motorists to make additional maneuvers
 approaching the new curves, which may limit safety during hazardous conditions—especially in the winter
 months. The additional length of approximately one mile for trucks and delivery vehicles was disclosed in the
 Draft EIS, but discussed with the PACT and the public in much more detail. The truck and heavy vehicle
 traffic on I-70 was assumed to be 20 percent of the average daily traffic of approximately 250,000 cars, per
 the 2008 Draft EIS Traffic Technical Report. Based on this assumption, the additional mileage created by the
 Realignment Alternatives results in an additional $29,600 cost per day for the heavy vehicles industry. This
 amount was calculated based on the U.S. Energy Information Administration (EIA) diesel pricing in the
 Rocky Mountain region, which was listed as $3.70 per gallon. With an average speed of 55 miles per hour
 for heavy vehicles, the additional mile from the Realignment Alternatives will result in a one-minute delay in
 the travel time. Although not quantified, additional fuel consumption and travel time leads to additional air
 quality impacts. The extra mile from the Realignment Alternatives will result in unnecessary additional cost
 and travel time for the trucking industries.

 3.2.2.        Summary of reasons for elimination of the Realignment Alternatives
 Based on the best available data showing that the Realignment Alternatives do not meet the project’s
 purpose and need, the Realignment Alternatives were eliminated from further analysis because they are no
 longer considered reasonable alternatives.

 CDOT and FHWA presented the recommended elimination and the evaluation process used to the general
 public during corridor-wide meetings held on May 2 and 3, 2012, and November 16 and 17, 2012, to solicit
 comments on this recommendation. Over 650 individuals collectively attended these two meetings. The
 public did not object to eliminating the Realignment Alternatives. Since the conclusion of the PACT, the
 project team has focused on refining the alternatives located along the current alignment.


 3.3.          Introducing a new alternative
 After reviewing the public comments received during the 2008 Draft EIS public comment period and
 performing additional analysis, CDOT and FHWA re-examined the previously eliminated alternatives. The
 project team’s additional analysis led to a new alternative which is a hybrid of the below-grade alternative
 and the tunnel alternative, both of which were eliminated in earlier stages of the screening process. The
 Partial Cover Lowered Alternative, addresses the project’s purpose and need, responds to public and
 agency requests by providing an opportunity for Swansea Elementary School to remain at its current
 location, and improves neighborhood cohesion. Section 5.2.2 of this report discusses this alternative in more
 detail.




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 4.            Alternatives that are no longer under
               consideration
 After the publication of the 2008 Draft EIS, some residents and stakeholders questioned the previous
 elimination of two alternatives. As a result, additional analysis was performed on these alternatives to
 confirm the validity of their elimination. The I-270/I-76 reroute and the citizen-proposed tunnel concept from
 an active Elyria community member were eliminated in the early stages of the alternatives analysis process
 because they did not meet the project’s purpose and need. This section explains the reasons why these
 alternatives have been eliminated.


 4.1.          I-270/I-76 reroute
 The I-270/I-76 reroute realigned I-70 around Denver using I-270 and I-76, as shown in Figure 7. This
 alternative was eliminated from consideration early in the project alternative analysis process, as
 documented in the 2008 Draft EIS.

 Figure 7.                    I-270/I-76 reroute alternative

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 4.1.1.        Reasons to eliminate the I-270/I-76 reroute alternative
 The main reason for the elimination of this alternative is that it does not meet the project’s purpose and need,
 which is to implement a transportation solution that improves safety, access, and mobility and addresses
 congestion on I-70. Specifically, CDOT examined the following issues to make this determination.

 Additional traffic on local streets
 The I-270/I-76 reroute does not meet the project’s purpose and need because it would add safety and
 congestion problems, rather than improving those that exist today. After the removal of I-70 from its current
 location, traffic volumes on local streets will increase and transfer the safety and mobility problems from I-70
 to the local network.

 A travel analysis was performed using the Denver Regional Council of Governments (DRCOG) 2035
 Regional Travel Demand Model, which simulated the rerouting of I-70 between Wadsworth Boulevard and


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 Central Park Boulevard on the I-270 and I-76 corridors in conjunction with a new 46th Avenue/48th Avenue
 arterial. I-270 and I-76 would be widened to six lanes in each direction, and the new 46th/48th Avenue would
 be either four or six lanes.

 Based on this analysis, traffic volumes on 46th Avenue are forecasted to be 10 to 20 times higher (more than
 50,000 vehicles per day) than the traffic forecasted for 46th Avenue with the alternatives that leave the
 highway at its current location. Adding over 50,000 vehicles per day to 46th Avenue will create a barrier
 within the community, making it difficult for bicyclists and pedestrians to move through the neighborhood.
 Rerouting I-70 while leaving 46th Avenue at its current location encourages highway users to use 46th
 Avenue to reach their destinations rather than staying on I-70. Rerouting I-70 also will force delivery trucks
 and other large vehicles to use 46th Avenue frequently to reach the industrial areas and businesses that are
 located near the existing I-70. Currently, there are 684 businesses within a quarter-mile buffer on each side
 of I-70 between I-25 and I-270, with approximately 11,408 employees who would lose highway access by
 rerouting I-70 and would be forced to use surface streets. The high traffic volumes and the truck traffic on
 46th Avenue could degrade the quality of the neighborhood and cause safety concerns for neighborhoods,
 pedestrians, bicyclists, and motorists.

 Figure 8 shows the potential effect on daily traffic on arterial roadways (using a four-lane 46th/48th Avenue
 scenario). Roadways that are shown in green would attract lower traffic levels if I-70 was rerouted, while
 those in orange and red would carry higher levels of traffic. As shown in the figure, some arterials close to
 the I-70 alignment are relieved, while some arterials close to the expanded I-270/I-76 corridor realize
 increases in traffic. The arterial grid connecting downtown to the east corridor encounters high levels of
 traffic volumes. An additional scenario, with a six-lane principal arterial (Figure 9) for 46th Avenue, was also
 modeled for a comparison.

 Figure 8.                             Change in daily traffic with 46th Avenue as a four-lane arterial

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 Figure 9.        Change in daily traffic with 46th Avenue as a six-lane principal arterial

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 As seen in Figure 8 and Figure 9, the analysis shows that the traffic on the arterials west of I-25 is reduced
 with the I-270/I-76 reroute; however, this reduction results in major traffic increase in the arterials east of I-
 25. The local street networks east of I-25 do not have the capacity to hold the forecasted traffic volumes;
 therefore, the increase in the local street traffic will result in safety issues and major delays. The
 responsibility for improving these problems would then fall on the local jurisdictions.

 Table 2 shows the increased traffic on 46th/48th Avenue. The average daily traffic for both scenarios (four-
 lane and six-lane 46th/48th Avenue), ranges from 30,000 to 60,000 (as four lane) and from 40,000 to 75,000
 vehicles a day (as six lane) in 2035, resulting in congested conditions. These traffic volumes are
 approximately 10 to 20 times higher than the traffic volumes on 46th/48th Avenue if I-70 were to remain at its
 current location. The six-lane scenario reduces the amount of additional traffic on other arterials in the traffic
 impact analysis area in comparison to the four-lane scenario.

 Table 2.         46th/48th Avenue 2035 traffic volumes

                                                               2035 Average Daily Traffic
                                             Partial Cover               Reroute                  Reroute
   46th/48th Ave Section Between               Lowered                 Alternative,             Alternative,
                                             Alternative*             four lanes for            six lanes for
                                                                        46th Ave                  46th Ave
  I-270 Ramps & Quebec St.                          -                     50,300                    65,200
  Quebec St. & Monaco St.                        24,100                   58,900                    75,500
  Monaco St. & Ivy St.                            8,100                   39,900                    52,000
  Ivy St. & Holly St.                             8,400                   41,950                    53,700
  Holly St. & Dahlia St.                         11,100                   41,400                    53,750
  Dahlia St. & Colorado Blvd.                    10,200                   42,250                    53,800
  Colorado Blvd. & Steele St.                    23,250                   40,000                    52,200
  Steele St. & Clayton St.                        7,050                   46,850                    61,150



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                                                                  2035 Average Daily Traffic
                                               Partial Cover                Reroute                    Reroute
   46th/48th Ave Section Between                 Lowered                  Alternative,               Alternative,
                                               Alternative*              four lanes for              six lanes for
                                                                           46th Ave                    46th Ave
  Clayton St. & Josephine St.                      11,050                     47,400                    62,000
  Josephine St. & York St.                         13,800                     47,850                    62,500
  York St. & Brighton Blvd.                        13,200                     45,850                    61,050
  Brighton Blvd. & E 47th Ave.                     14,800                     39,700                    51,500
  E 47th Ave. & Washington St.                         -                      37,700                    49,000
  Washington St. & Lincoln St.                         -                      58,700                    74,000
  Lincoln St. & I-25 Ramps                             -                      59,400                    73,400
  Pecos St. & I-25 Ramps                               -                      35,200                    41,800
  Pecos St. & Zuni St.                                 -                      30,750                    37,000
  Zuni St. & Federal Blvd.                             -                      29,100                    35,300
  Federal Blvd. & Lowell Blvd.                         -                      35,300                    42,800
  Lowell Blvd. & Tennyson St.                          -                      32,500                    39,850
  Tennyson St. & Sheridan Blvd.                        -                      33,550                    40,850
  Sheridan Blvd. & Harlan St.                          -                     36,600                     42,600
  Harlan St. & I-76 Ramps                              -                      34,600                    38,700
 *46th Avenue volumes are forecasted with a split diamond interchange at Colorado Boulevard and Vasquez Boulevard/
 Steele Street. 46th Avenue is configured as two-lane one-way frontage roads on either side of I-70. Note that there is no
 arterial similar to 46th/48th Avenues west of I-25.

 The increase in 46th/48th Avenue traffic introduces safety, access, and mobility issues in the surrounding
 neighborhoods, conflicting with the project’s purpose and need.

 Out-of-direction travel
 The I-270/I-76 reroute increases out-of-direction travel, causing mobility issues. Even small increases in
 mileage can have large effects on fuel consumption, costs, and emissions. As shown in the diagram on the
 right, 60 percent of the traffic heading west on I-70 continues past I-25, staying on I-70. The reroute
 alternative adds two miles of out-of-direction travel for these vehicles. Twenty five to thirty percent of the
 traffic heading west on I-70 exits to southbound I-25. This alternative adds four miles of out-of-direction travel
 for these vehicles. The additional vehicle miles traveled results in increased delays, fuel costs, and air
 pollution in the area.

 Alternate highway route
 The 2008 Draft EIS did not fully describe the importance of I-270 serving as the alternate route to I-70 for
 emergency access during major incidents or extreme congestion. I-70 and I-270 serve as reliever routes
 when one highway or the other becomes congested or closed due to accidents. With the reroute, the
 redundancy of the highway network, which is important for emergency response in the area, is limited. If I-70
 was rerouted to combine with I-270, there would be no alternate highway connecting the Denver
 neighborhoods to the rest of the region.

 Public input
 CDOT has invested nearly a decade seeking public input on this project, particularly from the adjacent
 neighborhoods and the communities most impacted by the project alternatives. The PACT process was
 initiated after the publication of the Draft EIS in 2008 to identify the preferred alternative for the project.
 Based on additional analysis and community input, the group reached a consensus to keep I-70 at its current
 location. The PACT determined that keeping I-70 at its current location rather than rerouting or realigning it is



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 the most beneficial to the surrounding communities, businesses, and transportation systems, because of the
 amount of traffic that would move to 46th Avenue if the highway was relocated or realigned.

 In addition, CDOT continues to receive statements from Commerce City, the North Area Transportation
 Alliance, and Colorado Motor Carriers Association restating their opposition to rerouting I-70 from its current
 location. Commerce City has expressed continued opposition to any reroute of I-70, citing the decision of the
 PACT and concern with the impact to that city’s planned economic development along I-270. In addition to
 Commerce City, the I-270/I-76 reroute would affect several additional communities, including Adams County,
 Jefferson County, and Arvada. A letter from Commissioner Eva Henry of Adams County; Mayor Michael
 Hancock of Denver; and Mayor Sean Ford of Commerce City was received on June 6, 2013 expressing
 Adams County, City and County of Denver, and Commerce City’s opposition to move the highway from its
 current location. Based on input received to date, support for the I-270/I-76 reroute primarily comes from
 neighborhoods outside of the impacted area.

 Additional cost
 This alternative requires more than 12 miles of major highway widening (5.5 miles of which are west of I-25)
 along I-270 and I-76 to accommodate the relocated traffic and is estimated to cost approximately $4 billion.
 This would increase the project construction cost to twice as much as the alternatives on the current
 alignment, removing the chances of near-term funding for the project. This estimate was prepared by the
 project team and verified by City and County of Denver staff for accuracy.

 This estimate is a high-level cost analysis based on typical construction costs for bridge and highway
 construction per lane mile and average right-of-way costs. However, it is likely to be a conservative estimate
 because it does not include the cost of converting the current I-70 and 46th Avenue to major arterials.
 Estimates also do not include improvements to I-25 between I-76/I-270 and existing I-70 to accommodate
 traffic travelling south on I-25 toward downtown Denver. Further, this estimate does not account for possible
 contaminants in this heavy manufacturing and warehousing area, or the cost of mitigating impacts to other
 important environmental resources and communities.

 4.1.2.      Summary of reasons for elimination of the I-270/I-76 reroute
 Based on the reasons discussed earlier, the project team eliminated the I-270/I-76 reroute in early stages of
 the alternatives screening process. The I-270/I-76 reroute alternative was re-examined and re-evaluated
 based on the most recent available data during the Supplemental Draft EIS analysis process. The additional
 analysis confirmed that this alternative does not address the project’s purpose and need (safety, mobility,
 access) and, therefore, is not considered a reasonable and viable alternative.


 4.2.        Citizen-proposed tunnel concept through Elyria and
             Swansea
 A community-developed alternative was provided to the project team and was evaluated. This involves an
 I-70 business or local roadway located on an elevated structure with 46th Avenue removed. The location and
 configuration of this would be similar to the existing I-70. Additionally, there will be an express lowered part
 of I-70 for through-traffic with no local access that is located to the north. The local business I-70 will consist
 of two lanes in each direction and provide local access with acceleration and deceleration lanes. This
 elevated viaduct structure will be wider than the existing viaduct structure. The express I-70 will consist of
 three travel lanes in each direction. Figure 10 shows a conceptual drawing prepared by a resident of Elyria
 and Swansea.

 This alternative was eliminated for the following reasons:
         There is substantial additional cost to construct both a lowered expressway and an elevated viaduct
          for I-70 due to extensive engineering, right-of-way acquisition, and construction expenses
         The existing elevated portion of I-70 requires replacement due to its deteriorated condition and
          cannot be used for local access without improvement




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               Removal of 46th Avenue hampers local and neighborhood east-west connectivity
 It also was requested to consider extending the lowered I-70 to the west of Brighton Boulevard. This would
 affect a National Western Complex building on the north side or the Denver Coliseum on the south side
 because of the need to construct the proposed improvements north or south of existing I-70 so that traffic is
 maintained.

 Although this alternative was eliminated from further consideration, elements of this concept were used to
 design the new Partial Cover Lowered Alternative, which is discussed later in this report.

 Figure 10.             Citizen-proposed tunnel concept through Elyria and Swansea




                                                                                      1-70 Local Access
                                                                                      Elevated Rernains
           Tunnel Cap Surface Becomes Park Space & North-South Streettunnections

                                                                                    46th Avenue Removed
                                                     A                    tr
                                                             Express 1-70 Eastbound Potential Future Expansion
                                   Express I-70 Westbound

                                            6 Lanes + Shoulders Tunnel
 A resident of the Elyria and Swansea Neighborhood provided this exhibit to the project team.




 5.                Description of alternatives
 The I-70 East Supplemental Draft EIS examines potential effects to social, environmental, and economic
 resources resulting from proposed improvements to I-70 between I-25 and Tower Road. Consistent with
 federal regulations, the Supplemental Draft EIS fully evaluates potential effects that might result from the No-
 Action Alternative and the Build Alternatives (Revised Viaduct Alternative and Partial Cover Lowered
 Alternative). The alternatives and options are presented in Table 3.

 Table 3.               Alternatives and options

                                               Expansion                  Connectivity                Operational
                Alternative
                                                Options                     Options                    Options
                                          North
 No-Action                                                          N/A                       N/A
                                          South

                                          North                                               General-Purpose Lanes
 Alternatives




                Revised Viaduct                                     N/A
                                          South                                               Managed Lanes
     Build




                Partial Cover                                        Basic                    General-Purpose Lanes
                                         N/A
                Lowered                                              Modified                 Managed Lanes


 5.1.              No-Action Alternative
 The No-Action Alternative includes existing, planned, and programmed roadway and transit improvements in
 the project area. These improvements also are part of all Build Alternatives considered and are defined by


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 the DRCOG 2035 Metro Vision Regional Transportation Plan (MVRTP) (2011). Chapter 4, Transportation
 Impacts and Mitigation Measures, lists and explains existing and programmed roadway and transit
 improvements in more detail.

 The No-Action Alternative does not meet the project’s purpose and need, but it provides a baseline for the
 Build Alternatives comparison, so it is analyzed in this document.

 A no-action alternative for highway projects normally includes short-term safety and maintenance
 improvements that continue the operation of the roadway while avoiding substantial capital investment.
 Because of the deteriorating condition of the existing I-70 viaduct between Brighton Boulevard and Colorado
 Boulevard, the No-Action Alternative for this project includes a total replacement of the viaduct. This
 replacement is necessary to maintain safe operations of I-70. The No-Action Alternative does not include
 additional travel lanes, so the lane configuration is the same as the existing conditions and I-70 would remain
 three lanes in each direction. Figure 11 illustrates the number of lanes for this alternative and shows which
 interchanges will be reconstructed or remain the same.

 Figure 11.          No-Action Alternative


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                   • Existing interchange (no reconstruction)                         Partially
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                   *• New/reconstructed interchange                                   (ramps only)




 If nothing is done, I-70 would likely have to be closed between I-25 and I-270 when the viaduct becomes
 unsafe. Closure of I-70 will greatly increase traffic on I-270 and will increase overall area congestion, delay,
 crashes, and operating costs to business on local streets.

 There are two options for reconstructing the viaduct: (1) No-Action Alternative, North Option, and (2) No-
 Action Alternative, South Option. The No-Action Alternative, North Option pushes the north edge of the
 highway approximately 70 feet north of the existing viaduct, while the No-Action Alternative, South Option
 pushes the south edge of the highway 60 feet south. A 22-foot inside shoulder is included in the design for
 westbound I-70 for No-Action North and on the eastbound for No-Action South to accommodate traffic during
 construction. As part of this alternative, 46th Avenue will be reconstructed under the viaduct.



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 The existing width of the highway bridge from Brighton Boulevard to Colorado Boulevard (three lanes in each
 direction, six lanes total) is approximately 85 feet. The reconstructed bridge increases the width by more
 than 50 feet to 140 feet, as shown in Figure 12. This increase in width is due to construction phasing, which
 would be required to maintain the traffic flow during construction, and the standard shoulder and lane widths,
 which are larger than the existing widths.

 Figure 12.            No-Action Alternative typical section (looking east)

                                                                          140'

                 12'         12'       12'        12'       12'                    22'              12'         12'
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                                                lanes     Shoulder               Shoulder             General-purpose lanes             Shoulder
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  Viaduct


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                                     46th Avenue                                              461h
                                                                                              46th Avenue


                                                        No-Action South Option




                                                                   140'

       12'             12'   I 12'         12'            22'                    12'        12'           12'         12'         12'
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     Shoulder           General-purpose lanes           Shoulder             Shoulder        General-purpose lanes          Shoulder
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     -1.5'                                                                                                                       15-
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                                                                                                                                               Viaduct


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                                      Westbound                                                    Eastbound
                                      46th Avenue                                                 46th Avenue


                                                        No-Action North Option




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 This alternative includes a drainage system north of I-70 to capture onsite water runoff from the viaduct via
 an underground storm drain pipe. The alignment for this drainage system is shown in Section 5.14,
 Floodplains and Drainage/Hydrology.

 The No-Action Alternative also reconstructs 46th Avenue to existing conditions under the viaduct with no
 additional changes.


 5.2.        Build Alternatives
 In addition to the No-Action Alternative, two Build Alternatives with options are evaluated.

 Revised Viaduct Alternative                           Partial Cover Lowered Alternative
         Expansion Options:                                   Connectivity Options:
          North or South                                        Basic or Modified
         Operational Options:                                 Operational Options:
          General-Purpose Lanes or Managed                      General-Purpose Lanes or Managed
          Lanes                                                 Lanes

 The Build Alternatives add capacity to I-70 from I-25 to Tower Road. Capacity is increased by restriping from
 I-25 to Brighton Boulevard and widening I-70 from Brighton Boulevard to Tower Road to accommodate
 additional lanes. The Build Alternatives range from six lanes to 12 lanes, depending on the capacity needs
 along the corridor. To follow the current standards, lanes and shoulders are designed to be 12 feet wide.
 Ramp shoulders range from 4 to 8 feet, depending on their location.

 To address safety issues associated with the aging viaduct between Brighton Boulevard and Colorado
 Boulevard, the Build Alternatives would replace the existing viaduct or remove it completely (as discussed in
 the following Revised Viaduct Alternative and Partial Cover Lowered Alternative subsections). The Build
 Alternatives would also modify all bridges and interchanges along the corridor between Brighton Boulevard
 and Tower Road, with the exception of Central Park Boulevard, the I-70 bridge over Sand Creek, and the
 Airport Road interchange. Because of safety issues related to existing substandard conditions, the Build
 Alternatives eliminate the York Street interchange. If this interchange were to be rebuilt to current highway
 standards, there would be adverse impacts to neighboring communities.

 Access continues to be provided at Brighton Boulevard through a full interchange, while access at Steele
 Street/Vasquez Boulevard and Colorado Boulevard is provided by either a split-diamond interchange or a full
 interchange at Colorado Boulevard only. There would be no new interchanges within the project limits with
 any of the Build Alternatives. Between Colorado Boulevard and Tower Road, the north-south connectivity
 across the highway would remain the same.

 As part of the Build Alternative, 46th Avenue is redesigned and continues to serve the local traffic in the
 area. More details on 46th Avenue and local and regional connectivity are discussed in the following
 subsections for each alternative.

 The proposed highway ranges from approximately 25 to 105 feet wider than the existing highway between
 Colorado Boulevard and Tower Road. Widening occurs equally north and south of this section.

 The alternatives’ design terminates Stapleton Drive at Quebec Street and includes collector-distributor roads
 from Quebec Street to Havana Street. None of the full interchanges between Colorado Boulevard and Tower
 Road would be eliminated. However, the existing slip ramps at Dahlia Street and Monaco Street would be
 consolidated closer to Holly Street to avoid conflicts with the geometry of proposed ramp locations at
 Colorado Boulevard and Quebec Street, as well as traffic weaving issues.




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 5.2.1.        Revised Viaduct Alternative
 The Revised Viaduct Alternative replaces the existing I-70 viaduct between Brighton Boulevard and
 Colorado Boulevard. It adds additional lane(s) in each direction from Brighton Boulevard to Tower Road. It
 also adds capacity from I-25 to Brighton Boulevard by restriping.

 The Revised Viaduct Alternative does not provide direct access from westbound I-70 to Steele
 Street/Vasquez Boulevard or from Steele Street/Vasquez Boulevard to eastbound I-70. Access at Steele
 Street/Vasquez Boulevard and Colorado Boulevard is provided by a split-diamond interchange.

 An acceleration/deceleration lane is provided in each direction at ramp junctions between Brighton
 Boulevard and Steele Street/Vasquez Boulevard to make it easier for vehicles to safely enter or exit between
 two facilities with different operation speeds (i.e., between a freeway and a ramp to a local street). These
 additional lanes result in a viaduct width of 197 feet for the General-Purpose Lanes Option and 197 feet for
 the Managed Lanes Option, more than two times wider than the existing width.

 Figure 13 illustrates the number of lanes for this alternative and shows which interchanges will be
 reconstructed or remain the same.

 Figure 13.            Revised Viaduct Alternative lane configuration and interchange reconstruction


                                                 Total number of lanes in both directions
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                              Eastboundan/westbound
                                        on/westbound off

                    * Includes 1 additional lane each direction        ** Includes 2 additional lanes each direction
                       (general-purpose or managed lanes)                  (general-purpose or managed lanes)




 The Revised Viaduct Alternative includes two Expansion Options from Brighton Boulevard to Colorado
 Boulevard: North or South, and two Operational Options from I-25 to Tower Road: General-Purpose Lanes



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 or Managed Lanes (shown in Figure 14). Each expansion option of this alternative moves the centerline of
 the highway approximately 70 feet north or south of the existing centerline. The North Option pushes the
 north edge of the highway up to 160 feet north from the existing highway edge in some areas. The South
 Option pushes the south edge of the highway up to 140 feet south of the existing highway edge.

 Figure 14.           Revised Viaduct Alternative


                                                                  Expansion Options:
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 Figure 15 shows a typical section for the Revised Viaduct Alternative, General-Purpose Lanes Option. Figure
 16 shows a typical section for the Revised Viaduct Alternative, Managed Lanes Option.


 Figure 15.           Typical section for the Revised Viaduct Alternative, General-Purpose Lanes Option
                      (Between Brighton Boulevard and Colorado Boulevard)


                                    - Acceleration/deceleration
                                       Acceleration/deceleration lane                       Acceleration/deceleration lane
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 Figure 16.         Typical section for the Revised Viaduct Alternative, Managed Lanes Option (between
                    Brighton Boulevard and Colorado Boulevard)


                                      ...Acceleration/deceleration
                                           cceleration/deceleration lane                                             Acceleration/deceleration lane
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                  Sidewalk                                                                                                                            48th Avenue Sidewalk-)




 The Revised Viaduct Alternative provides local north-south connectivity across I-70 via York Street,
 Josephine Street, Columbine Street, Clayton Street, Fillmore Street, Milwaukee Street, Steele
 Street/Vasquez Boulevard, and Monroe Street, as shown in Figure 17. Access to Elizabeth Street would be
 available via 46th Avenue; however, Elizabeth Street would not connect across I-70.

 Figure 17.         Revised Viaduct Alternative north-south connectivity

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 As part of this alternative, 46th Avenue would run underneath the highway as a two-lane road with turn lanes
 to provide east-west connectivity. The minimum height under the viaduct is 16.5 feet, which provides
 sufficient clearance for large vehicles. The lane width for 46th Avenue is 11 feet with no shoulders. There are




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 five-foot sidewalks located 10 feet from the north and south edges of the viaduct to move pedestrians away
 from the viaduct structure.

 To keep 46th Avenue farther away from the Swansea Elementary School property, it is located under the
 viaduct below the eastbound direction of I-70. The additional space under the viaduct below the westbound
 lanes of I-70 adjacent to 46th Avenue could be used as a space for community and neighborhood activities.
 Figure 18 shows a different perspective of this proposed design.

 Figure 18.      Revised Viaduct Alternative perspective


                                                       g
                                                       1
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                                                                 Westbound
                                                                46th Avenue



 This alternative includes two potential offsite storm drainage outfall alignments through Globeville Landing
 Park to capture offsite water runoff. Both the northern and southern outfall options include underground
 storm drain pipe; however, the southern outfall option also includes the reconstruction of the existing spillway
 to accommodate the increased flow as a result of the new storm drain pipe.

 Figure 19 shows three different concept designs for the uses under the viaduct.

 The Revised Viaduct Alternative, North Option moves the edge of the highway 125 feet closer to Swansea
 Elementary School. Because of this encroachment, the site plan of the school was redesigned to use
 adjacent parcels and the open space under the viaduct, and includes closing Elizabeth Street from 47th
 Avenue to 46th Avenue. The redesign of the school lot increases the school property size from 4.1 acres to
 approximately 6.8 acres, including the space under the viaduct. Denver Public Schools is not in support of
 this arrangement due to the closeness of the elevated highway to the school site. Figure 20 shows two
 conceptual site plan design options for reconfiguring the school lot with the Revised Viaduct Alternative,
 North Option.

 There would be no changes to the existing site plan of the school with the Revised Viaduct Alternative, South
 Option because the edge of the structure would be located 18 feet farther away from the school when
 compared to the location of the existing viaduct.

 This alternative includes a drainage system north of I-70 to capture on-site water runoff from the viaduct via
 an underground storm drain pipe. The alignment for this drainage system is shown in Section 5.14,
 Floodplains and Drainage/Hydrology. The offsite area that drains across I-70 from south to north would
 continue to flow as in existing conditions. More information on drainage is available in Section 5.14,
 Floodplains and Drainage/Hydrology, of the Supplemental Draft EIS.




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 Figure 19.    Conceptual design of the activities under the viaduct




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 Figure 20.     Swansea Elementary School options for the Revised Viaduct Alternative, North
                Option




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 5.2.2.          Partial Cover Lowered Alternative
 The Partial Cover Lowered Alternative is shown in Figure 21. This alternative removes the existing I-70
 viaduct between Brighton Boulevard and Colorado Boulevard, lowering the highway below grade in this area,
 while adding two additional lanes in each direction. The Partial Cover Lowered Alternative includes a
 highway cover over I-70 between Clayton Street and Columbine Street, adjacent to Swansea Elementary
 School. Options for this alternative include an additional cover in the vicinity of Steele Street/Vasquez
 Boulevard. Urban landscape is proposed on the cover, with the potential to include playgrounds, plazas,
 outdoor classrooms, and community gardens.

 Figure 21.         Partial Cover Lowered Alternative


                                      e\Ab
                                      ga
                                                          Connectivity Options:
                                                            •• Basic
                               $['•
                                                                                       Operational Options:
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                                                            •• Modified
                                                          (Highway is lowered
                                                                                        •■ General-Purpose Lanes
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 The highway would start descending west of Brighton Boulevard to reach the maximum depth of
 approximately 40 feet below grade just east of the Union Pacific Railroad yard, allowing the railroad to cross
 above the highway. The remaining portion of the lowered section has a depth of approximately 25 feet below
 grade. The lowered highway ascends just east of the Burlington Northern Santa Fe (BNSF) Denver Market
 Lead Railroad yard to reach the existing grade east of the Colorado Boulevard interchange.

 There are two Connectivity Options with this alternative between Brighton Boulevard and Colorado
 Boulevard: the Basic Option and the Modified Option (shown in Figure 21). The Partial Cover Lowered
 Alternative east of Colorado Boulevard includes the improvements discussed earlier in Section 3.7.

 Figure 22 shows a profile view of the Partial Cover Lowered Alternative from Brighton Boulevard to Clayton
 Street.




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 Figure 22.           Profile view of the Partial Cover Lowered Alternative from Brighton Boulevard to
                      Colorado Boulevard

        5280'
        5280' —            Brighton BlvJ
                                    Blvd                                         Josephine St_                   Clayton St
                                                                       York St        Bridge
                                                    UPRR
                                                    LIPRR               Bridge                                      Bridge
        5240'
        5240'——                                    Bridge      Existing
                                                               Existing Bridge
                                                             \ grourd —\


                                                                                                       r
                                                                ground                                      Columbine SI
                                                                                                                      St
  c                                                                                                         Bridge
 V. 5200'
 tj 5200'
 L.TJ
 LL,                                                                                                  IR
                                                                 1                                    1 I
        5160' —
        5160' —
                       I -7n TAW,
                       1-70V - Top of pavement
                               euppavement
                                   of
                                                                             '— Maximum
                                                                                Maximumcut
                                                                                        cut40
                                                                                            40feet
                                                                                                feet± below
                                                                                                      below existing ground
        5120'
        5•    —
              —




                                                   Market Lead RR Bridges                                 Blvd Bridge
                                                                                                 Colorado Blvd
                SteeleStNasquez
        5280'— Steele
        5280'          StNasquezBvld
                                Bvld
                               Bridge                 Existing                         Monroe St Bridge
                                                      ground
        5240'
        5240' —


 t3
 • 5200'
    5200'-
  O
  0,


        5160'  —
        5160' -1116
                                           1-70 -- Top
                                                   Top of
                                                       of pavement
                                                          pavement
        5120'
        5120' —




 Lowering I-70 requires capturing offsite surface runoff that currently flows south to north. The offsite drainage
 system included in this alternative is designed to prevent the lowered section of I-70 from flooding. This
 storm drain system would be conveyed south of I-70 and discharge to the South Platte River. An on-site
 drainage system is designed north of I-70 to capture runoff from the highway. Design of the Partial Cover
 Lowered Alternative includes the same lane configuration as the Revised Viaduct Alternative, which is shown
 in Attachment A, Alternative Maps.

 The design of the Partial Cover Lowered Alternative includes the same lane configuration as the Revised
 Viaduct Alternative.


 5.3.             Alternative Options
 5.3.1.           Expansion options
 Expansion Options, shown in Figure 24 and Figure 25, refer to moving the north edge of the highway north
 or the south edge of the highway south of the existing facility from Brighton Boulevard to Colorado Boulevard
 to accommodate the larger footprint resulting from standard width lanes, expanded shoulders, and
 construction phasing. These options apply to the No-Action Alternative and the Revised Viaduct Alternative.
 The Partial Cover Lowered Alternative does not include the Expansion Options because expansion of the




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 highway can occur only on the north side due to engineering restrictions and the location of the UPRR rail
 yard to the south.

 5.3.2.        Connectivity options
 Connectivity Options are shown in Figure 24 and apply only to the Partial Cover Lowered Alternative. There
 are two Connectivity Options with this alternative between Brighton Boulevard and Colorado Boulevard: the
 Basic Option and the Modified Option (Figure 21).

 The Partial Cover Lowered Alternative east of Colorado Boulevard includes the improvements discussed
 earlier in Section 3.7.

 Partial Cover Lowered Alternative, Basic Option
 With the Basic Option, local east-west connectivity is provided through 46th Avenue, which is designed as a
 one-way two-lane road in each direction. Eastbound 46th Avenue is located on the south side of the highway
 and westbound 46th Avenue is located on the north side. There are sidewalks adjacent to the roadway.

 Highway access with the Basic Option is provided through a split-diamond interchange at Colorado
 Boulevard and Steele Street/Vasquez Boulevard. Figure 23 illustrates the number of lanes for this option and
 shows which interchanges will be reconstructed or remain the same.

 Figure 23.            Partial Cover Lowered Alternative, Basic Option lane configuration and interchange
                       reconstruction


                                                               Total number of lanes in both directions
          6 8*                              10**                                                    12**             10**
                                                                                                                     10** 8**
                                                                                                                          8** 6*
                                                                                                                              6*

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                                                       CI =
                                                          S      4
                                                                 C3   C..3
                                                                      CD COCO              2               d                          c



                    •0 Existing
                        Existinginterchange
                                 interchange (no reconstruction)
                                                 re-construction)                          X Interchange removal
                    • New/reconstructed
                    4. New/reconsfructed interchange
                                          interchange                                     * Partially reconstructed
                                                                                              Partially reconstructedinterchange
                                                                                                                      interchange
                           1Westbound
                             Westboundon/eastbound
                                      onfeastbound off                                        (ramps only)
                               Eastbound on/westhound
                           lk Eastbound  on/westbound off

                    * Includes 1I additional
                                  additional lane
                                              lane each direction                     ** Includes 2 additional lanes each direction
                       (general-purpose or managed lanes)                                 (general-purpose or managed lanes)




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 The additional lanes on the highway, including the space needed for 46th Avenue, result in a footprint
 approximately three times greater than the existing footprint. The Basic Option of the Partial Cover Lowered
 Alternative pushes the north edge of the highway up to 160 feet north from the existing edge of the highway.
 Figure 24 shows a typical section of the highway with this option. Figure 25 shows a typical section for the
 Partial Cover Lowered Alternative, Basic and Managed Lanes Option.

 Figure 24.          Typical section of the Partial Cover Lowered Alternative, Basic Option with general-
                     purpose lanes (between Brighton Boulevard and Colorado Boulevard)




       (Sidewalk                                                                                                         Sidewalk
                                                                                                                         Sidewalk -
       1     38.5'                                                                                           3B.5'
                                                                                                             3B,5'
      8.5' 12'
      8.5'_ 12' 12'
                 12' 414'                                                                             14' 12'   12' 8.5'
                                                                                                          12' 12'    8.51
            4
            1      44 1                                                                                    t     t
            mixt I.                                         197'                                                • •
                                                                                                                   2
          Westbound       8' 12' 12' 12' 12' 12' 12' 16' ii 16'  16'12'
                                                                    12' 12'
                                                                        12' 12'12' 12'
                                                                                    12' 12'12' 12'
                                                                                               12' 8' Eagthnund
                                                                                                        Eastbound
        46th Avenue               General -pur pose lanes
                                  General-purpose         Shoulders    General-purpose lanes            46th
                                                                                                         45th Avenue




                               `- AccolerationitlaCeleratiOn lade
                                   Acceleration/deceleration lane          Accelerationideceleration
                                                                           Acceleration/deceleration lane -I
                              Shoulder                                                               Shoulder 1




 Figure 25           Typical section of the Partial Cover Lowered Alternative, Basic Option with managed
                     lanes (between Brighton Boulevard and Colorado Boulevard)




       (Sidewalk                                                                                                         Sidewalk--.)
                                                                                                                         Sidewalk  -
       1
       l•    38.5'                                                                                                 b         38.5'   •
      .8.5112i t 12' 4'                                                                                            14'l' 12' _ 12' 8.5'
                                                                                                                                   8.51
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      _ Plt
        lam * I.                                                    197'                                           F
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         Westbound        8' 12'   12' 12' 12'12' 4' 12'
                                                     12' 12' 12' 12'     12' 12'
                                                                    12' 12'        4 12'
                                                                               12' 4      12' 12'
                                                                                     12' 12'   12' 12'
                                                                                                   12' 8'
                                                                                                       8'              Easthnund
                                                                                                                       Eastbound
        46th Avenue                General-purpose Managed
                                   Geneal-purpose     Managed Shoulders
                                                               ShouldersManaged
                                                                        Managed General-purpose
                                                                                   General-purpose                     46th Avenue
                                       lanes             nes               lanes         lanes
                                                                                            1.1
                                                   \--Butler
                                                      Buffer                   Butler
                                                                               Buffer
                                   Acceleration/deceleration lane          Acceleration/deceleration lane
                            •- Shoulder
                               Shoulder                                                              Shoulder —/
                                                                                                     Shoulder




 The local connectivity north-south across I-70 between Brighton Boulevard and Colorado Boulevard is
 provided by overpasses above the highway at York Street, Josephine Street, Columbine Street, Clayton
 Street, Steele Street/Vasquez Boulevard, and Monroe Street, as shown in Figure 26. Elizabeth Street will be
 closed between 46th Avenue and 47th Avenue to accommodate the Swansea Elementary School expansion
 and reconfiguration.\



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 Figure 26.      Partial Cover Lowered Alternative north-south connectivity




                  Proposed 1-70   illtra. North-South
                                  1                   Connections
                                           ► North-South Connections                 Denver Bike Route (D-13)


 The Basic Option extends the edge of I-70 155 feet and the outside edge of the 46h closer to the Swansea
 Elementary School building and the outside edge of the 46th Avenue sidewalk 200 feet closer. The front of
 the school is 65 feet from the edge of the 46th Avenue sidewalk.

 Highway cover concept

 The Partial Cover Lowered Alternative includes an 900-foot deck or cover above the highway with two street
 bridges on either end, making the total enclosed area 900 feet (see Figure 27). Currently, the optimal
 placement of the cover has been located in the area between Clayton Street and Columbine Street, adjacent
 to Swansea Elementary School. This location accommodates the maximum length of the cover that can be
 placed on the highway without needing to include additional safety features that would modify the design of
 the highway. A ventilation system is included within the covered section of the highway to operate during
 periods of elevated carbon dioxide and fire events.




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 Figure 27.     Oblique view of the highway


                   -




                                                   Existing




                                 Partial Cover Lowered Alternative simulation



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 The ventilation, fire, and life safety requirements have been developed in line with international best
 practices based upon the following key safety objectives:

    Permit the users of the covered and depressed sections of the I-70 East highway study area to evacuate
      in reasonable safety
    Reduce the life safety risk to as low as reasonably practicable
    Allow fire department personnel to operate in reasonable safety

 Emergency exits may be replaced with cross-passageways as long as a minimum two-hour fire-rated
 construction between roadways is provided. Cross-passageways should be spaced no more than 655 feet
 apart. They offer a benefit in terms of risk reduction by reducing the travel distance, and therefore time, for
 people escaping from an incident to reach a place of temporary safety. The fire safety community knows and
 understands that providing facilities that promote and support self rescue during the early stage of an
 incident, prior to the arrival of emergency services, can have a positive outcome in terms of life safety. The
 covered section of the highway would be under closed-circuit television surveillance, which also has a
 significant and positive impact on reducing the detection time of any incident. Part of the overall design and
 construction of the highway cover is to provide redundancy for emergency services.

 Figure 28 illustrates options for redesigning the Swansea Elementary School property with the Partial Cover
 Lowered Alternative. An urban landscape is proposed to be located on the highway cover with the potential
 to include playgrounds, outdoor classrooms, and community gardens. Strategically placed landscape
 elements, such as trees, are included only at designed locations to minimize the loadings on the structure.
 Figure 29 shows three different conceptual designs for the activities on the highway cover. These concepts
 were presented to the public for comment and received major public support. The design of the cover will be
 finalized through the Final EIS and Record of Decision (ROD) using charrettes to involve the community in
 the design. To design the amenities on the cover, structures limitations have to be considered. Some of the
 considerations include, but are not limited to:

     Design life of the cover structure. Consideration should be given to the level of complexity and
      expense of the amenities and features placed on the cover. Replacement of the cover structure,
      regardless of design life, would require replacement or reinstallation of all amenities constructed on the
      top of the cover.
     Damage to one or more girders resulting from an over-height vehicle or fire. Replacement of one
      or more girders may require replacement or reinstallation of amenities constructed above the damaged
      girder(s).
     Wet utilities. Any amenity requiring wet utility services, such as water and sewer, would require
      special design considerations to ensure long service life without failure or replacement.
     Maintenance responsibilities. Maintenance responsibilities of all potential amenities and structures
      considered for the top of the cover should be well defined, including their interface with maintenance of
      the overall cover structure.




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   gu re 28.
 Figure         Swansea Elementary School options for the Partial Cover Lowered Alternative




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 Figure 29.    Conceptual design of the activities on the highway cover




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 Partial Cover Lowered Alternative, Modified Option
 The Modified Option of the Partial Cover Lowered Alternative removes the current highway access at Steele
 Street/Vasquez Boulevard. Instead, a full interchange is designed at Colorado Boulevard, allowing
 eastbound and westbound access at this location. Local east-west connectivity is provided by making 46th
 Avenue two-way on the north side and the south side of the highway. However, 46th Avenue is discontinued
 on the north side of the highway between Clayton Street and Columbine Street to allow for a seamless
 connection of Swansea Elementary School to the highway cover, which is located in that area.

 Figure 30 illustrates the number of lanes for this option and shows which interchanges will be reconstructed
 or remain the same.

 Figure 30.        Partial Cover Lowered Alternative, Modified Option lane configuration and
                   interchange reconstruction

                                                           Total number of lanes in both directions
         6
         6 8*
            8*                           10**                                         12**                        1 0**   8**      6*



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               •   Existing interchange (no reconstruction)                        X Interchange removal
               •   New/reconstructed interchange                                  •    Partially reconstructed interchange
                     4
                    4 Westbound on/eastbound off                                       (ramps only)
                    } Eastbound
                       Eastboundon/westbound
                                 on/westbound off
              * Includes 1 additional lane each direction
                Includes 1                                                    ** Includes 2 additional lanes each direction
                (general-purpose or managed lanes)                                (general-purpose or managed lanes)



 The removal of the interchange at Steele Street/Vasquez Boulevard results in elimination of auxiliary lanes.
 This will provide a smaller highway footprint from York Street to Steele Street/Vasquez Boulevard (Figure
 29). ). Also, the centerline of I-70 is shifted 24 feet further south compared to the Basic Option, reducing the
 construction limits on the north side, while keeping the south construction limits the same as they are with
 the Basic Option.

 Figure 31 shows a typical section for the Partial Cover Lowered Alternative, Basic and General Purpose
 Lanes Options. Figure 32 shows a typical section for the Partial Cover Lowered Alternative, Basic and
 Managed Lanes Option.




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 Figure 31.                Typical section of the Partial Cover Lowered Alternative, Modified Option with general
                           purpose lanes (between Brighton Boulevard and Colorado Boulevard)


       r,---Landscaping
       4
                         --,
          --Landscaping -Th,                                                                                                                        r- Landscaping
                                                                                                                                                       Landscaping--,
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   5'  .5'
       flI        32'            10''
                                _10i                                                                                                                1 0'
                                                                                                                                                    10'      32'       8.515'
                                                                                                                                                                       8.5' 5'
                                                                                             181'
    1i          * 4.                                                                                                                                                  1
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                                            12' 12'
                                                12' 12'
                                                      12' 12'
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                                                                               16' 12'
                                                                                   12' 12'
                                                                                        12' 12'
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            Ave-way                                                                                                                                      intro-way
                                                                                                                                                         Two-way
                                              General-purpose lanes     Shoulders     General-purpose lanes
       46th
       46thTAvenue     North
            Awvoe-nwuaeyNorth                                                                                                                        46th Avenue
                                                                                                                                                          AvenueSouth
                                                                                                                                                                   South /
           Sidewalk                                                                                                                                            Sidewalk --'
                                               ..1=1..       .1   fr       Mk   0    Or       I              S




                                              Shoulder                                                                             Shoulder -r




 Figure 32.                Typical section of the Partial Cover Lowered Alternative, Modified Option with
                           managed lanes (between Brighton Boulevard and Colorado Boulevard)



       [—Landscaping
         Landscaping -Th,
                      ---,                                                                                                                           r- Landscaping
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                55.5'                                                                                                                                       55.5'
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          Two-way                                        I             I                                                 I                               Two-way
      46thAvenue
          Avenue North
                 North                         General-purpose                   Managed
                                                                                 Managed Shoulders
                                                                                          Shoulders Managed
                                                                                                     Managed         General-purpose
   k 46th                                          lanes                          lanes               lanes               lanes                      46th Avenue
                                                                                                                                                          AvenueSouth
                                                                                                                                                                 South /
           Sidewalk                                                                                                                                            Sidewalk
                                               ...—...       •2 Ant             MI
                                              Shoulder
                                              Shoulder                          • Buffer                 Buffer -/
                                                                                                         Buffer                    Shoulder




 The additional lanes and space needed for 46th Avenue result in a highway footprint that is approximately
 three times greater than the existing footprint. The Partial Cover Lowered Alternative, Modified Option
 pushes the north edge of the highway up to approximately 150 feet north from the existing edge of the
 highway.

 Local north-south connectivity across I-70 is similar to the Basic Option with additional connection provided
 at Milwaukee Street. A pedestrian bridge is designed at Josephine Street across the highway to create a
 safe crossing location for bicycles and pedestrians. York Street between 45th Avenue and 48th Avenue is
 converted from its current one-way configuration to one that is two-way, as shown in Exhibit 4-21 in Chapter
 4, Transportation Impacts and Mitigation Measures.

 The Modified Option allows for the possibility of constructing a second cover over I-70. The location of this
 cover would be in the vicinity of Milwaukee Street to the Denver Market Lead Railroad. This cover would be
 in addition to the cover between Clayton Street and Columbine Street, as discussed earlier. The exact



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 location and length will be determined in the future. Construction of the second cover is not anticipated to be
 part of this project. The work will provide accommodations to allow for the inclusion of this second cover in
 the future. Denver is investigating the potential of providing redevelopment opportunities with this additional
 cover.

 5.3.3.       Operational options
 Two Operational Options for the added capacity are considered for the Build Alternatives from I-25 to Tower
 Road: General-Purpose Lanes or Managed Lanes. Attachment A, Alternatives Maps, shows details on the
 lane configurations for the General-Purpose Lanes and Managed Lanes Options. Operational Options apply
 to the Revised Viaduct Alternative and the Partial Cover Lowered Alternative.

 General-purpose lanes are traffic lanes that do not apply any restrictions to the vehicles using them.
 Managed lanes implement operational strategies that would be adjusted based on real-time traffic demand
 on the highway facility. This is accomplished by providing a specially managed travel lane for vehicles to
 avoid congestion and travel at a higher speed than the general-purpose lanes. The purpose is to provide a
 reliable, congestion-free option along the highway and provide a way to manage congestion over the long
 term to reduce the need for future expansion.

 The Build Alternatives Managed Lanes Option only manages the added capacity and leaves the existing
 capacity as general-purpose lanes. The managed lanes for this option are separated from the general-
 purpose lanes by a four-foot striped buffer, as shown previously in Figure 32.

 Managed Lanes Option
 As an alternative to general-purpose lanes, managed lanes are under consideration from I-25 to Tower Road
 to manage the additional capacity. Managed lanes implement an operational strategy that would be adjusted
 based on real-time demand for vehicles that use these lanes to avoid congestion and travel at a higher
 speed than the general-purpose lanes. The operational strategy would provide a reliable, congestion-free
 option through the corridor, as well as a revenue stream to support highway maintenance. The managed
 lanes would be separated from the general-purpose lanes by a four-foot striped buffer, as shown in Figure
 33. Figure 33 also shows the lane configuration of the Managed Lanes Option.

 Figure 33.         Typical section of Managed Lanes Option between I-225 and I-270
                                                          1713.3'
                                                          178.3'


           12'     12'    12'   12'   4'   12'   12'   12' 2.3' 12'   12'   12'   4'   12'   12'   12'   12'




           Shldr
           Shldr GPL
                 GPL  GPL CPL
                     GPL   GPL             ML    ML Shldr Shldr
                                                 ML Shit   Shldr ML ML
                                                                 ML  ML F GPL
                                                                            GPLGPL
                                                                                 GPL GPL
                                                                                       GPL Shirk
                                                                                             Shldr
                                                                          A


  GPL = General Purpose Lanes
  ML = Managed Lanes



 The Managed Lanes Option increases the project footprint by eight feet compared to general-purpose lanes
 due to the four-foot buffer on each side, however the construction limits only increase where there are direct
 connections from the managed lanes to interchanges. This would not result in additional major impacts to the
 surrounding neighborhood and environment except at locations of direct connections. The construction limits
 for the Managed Lanes Option increases where there are direct connections from the managed lanes to
 interchanges.




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 There are three proposed direct connections from the managed lanes to accommodate regional and airport
 traffic: I-270, I-225, and Peña Boulevard. These direct connections result in a shift of eastbound I-70 to
 create room for the connections. The shift ranges from 50 to 200 feet from the existing edge of the highway
 to the proposed edge.

 The pricing and policies for the managed lanes will be determined through a separate study and results will
 be included in the Final EIS, due for publication in 2015.

 5.4. Other design variations
 Design variations are possible changes to the original design of a transportation facility element that do not
 pose major additional impacts to the environment and stay within the project’s construction limits.

 Design variations are considered for the Partial Cover Lowered Alternative. There are no design variations
 being considered for any of the other alternatives at this time. The Basic and Modified Connectivity Options
 for the Partial Cover Lowered Alternative are fully evaluated in this document. Other design variations to
 these options are being considered but not evaluated and remain as unresolved issues. As part of the public
 outreach process, CDOT and FHWA will continue to seek feedback from the community, stakeholders, and
 public agencies on these variations.

 The variations under consideration relate to the following elements:

    Access to I-70 at Steele Street/Vasquez Boulevard
    Highway cover
    Frontage roads
    North-south connectivity

 These variations were developed to respond to community concerns and to balance community, business,
 and transportation needs. The following goals helped to develop these variations:

    Maintain the Steele Street/Vasquez Boulevard access to I-70 as an important local and regional access
      point for businesses needing access to the interstate for commerce
    Maximize north-south and east-west connectivity across and adjacent to I-70 for all modes of
      transportation
    Minimize the impact of the Steele Street/Vasquez Boulevard interchange on adjoining properties and the
      neighborhoods
    Consider traffic operations, including access to potentially developable properties in and around the
      highway interchanges
    Explore the expansion of the Swansea cover to the east and west as far as technically and financially
      feasible; and understand the technical and financial feasibility of a cover east of Steele Street/Vasquez
      Boulevard
    Consider the possibility of shifting connectivity from Monroe Street to Jackson Street

 These variations do not substantially change the impacts to most resources and do not increase the project’s
 construction limits. Traffic, noise, and air quality analysis may change slightly if these variations are
 implemented. Additional analysis will be performed prior to completion of the Final EIS. The Partial Cover
 Lowered Alternative could include some or none of these variations.




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 Access to I-70 at Steele Street/Vasquez Boulevard
 Access to I-70 at Steele Street/Vasquez Boulevard is included in the Basic Option as part of a split diamond
 interchange with Colorado Boulevard, and is eliminated in the Modified Option with a full diamond
 interchange at Colorado Boulevard (see Figure 34 and Figure 35).

 Figure 34.      Steele Street/Vasquez Boulevard and Colorado Boulevard split diamond interchange




 Figure 35.      Full diamond interchange at Colorado Boulevard




 The elimination of highway access at Steele Street/Vasquez Boulevard allows for incorporation of a cover
 over the highway at this location. It also provides an opportunity for redevelopment in this area. However, the
 majority of community members did not support the loss of highway access at Steele Street/Vasquez
 Boulevard. Business owners, Commerce City officials, Adams County officials, and the Colorado Motor
 Carriers Association also expressed their concerns regarding removing access at Steele Street/Vasquez
 Boulevard and limited mobility with the full diamond interchange at Colorado Boulevard.




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 To address stakeholders concerns, design variations were developed to allow for access at Steele
 Street/Vasquez Boulevard while providing opportunities for development in the area. These design variations
 include a split diamond configuration with Colorado Boulevard that incorporates roundabouts or a signalized
 intersection at the ramp junction, as well as differences in ramp and frontage road locations and connections.
 The variations are shown in Figure 36 and Figure 37.

 Figure 36.          Steele Street/Vasquez Boulevard design variation with roundabouts

                                                                   VI
                     to'

               8
     cv        E
     CD




                                                  46th Ave



                                                   46th Ave

                           45th Ave

                                                                                     cts

              <1.)
              O
      cV
     C—,                                                      CD




 Figure 37.          Steele Street/Vasquez Boulevard design variation with signalized intersections




 The roundabouts result in additional connectivity from eastbound I-70 to the westbound 46th Avenue two-
 way frontage road that will reduce traffic exiting at Brighton Boulevard and improve vehicle operations at the
 I-70 and Brighton Boulevard interchange. Another key benefit of the roundabouts is that they provide
 improved operations for ramp traffic and Steele Street/Vasquez Boulevard traffic entering I-70. The design
 variation with traffic signals will result in more vehicles stacking up both southbound and northbound on
 Steele Street/Vasquez Boulevard compared to the roundabouts.




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 The benefits of the design variation with traffic signals are that it can be constructed in a slightly smaller
 footprint than the roundabouts. Also, pedestrian movements at signalized intersections are controlled with
 crossing signals, while roundabout pedestrians cross the streets without crossing signals.

 Highway cover
 The Basic Option includes a 900-foot-long highway cover between Clayton Street and Columbine Street in
 front of Swansea Elementary School, but separated by a one-way frontage road. The Modified Option
 removes the frontage road between the highway cover and Swansea Elementary School and proposes an
 additional cover at St. Paul Street and Cook Street.

 Variations to the highway cover in front of Swansea Elementary School include differences in length. The
 cover can be substantially extended eastward to Fillmore Street, or minimally extended beyond Clayton
 Street and Columbine Street. Although the extended cover improves the north-south community connectivity
 and provides additional public space in the neighborhood, it may create air quality impacts. Additional
 impacts to air quality may result in violation of regional air quality standards. Also, a longer cover requires
 additional ventilation and emergency equipment, which will result in added design complication and cost.

 Design variations to the second cover include the location of the cover, the length of it, and its use. The
 cover can be located anywhere between Fillmore Street and Monroe Street and can be created in various
 lengths. The area on top of the cover can include different uses, built by others, or it can become additional
 community space. Although the additional cover between Fillmore Street and Monroe Street improves the
 north-south community connectivity and may provide additional public space in the neighborhood, it also
 may pose air quality impacts. Additional impacts to air quality may result in violation of regional air quality
 standards. Any development on the additional cover also has to comply with federal airspace requirements
 and requires greater coordination than typical development.

 Frontage roads
 With the Basic Option, 46th Avenue is designed as one-way frontage roads on the north and south sides of
 the highway, including running between the school and the highway cover. The Modified Option creates two-
 way frontage roads on the north and south sides of the highway, but removes 46th Avenue next to the
 school.

 Design variations include more opportunities for two-way frontage roads in different places alongside the
 highway.

 Two-way frontage roads improve community cohesion by improving local access and east-west mobility
 through the neighborhood. Vehicular movement on two-way roads is slower in comparison to one-way roads,
 so pedestrian safety is improved with two-way roads. However, one-way frontage roads make it easier for
 pedestrians to cross.

 Neighborhood connections
 Both Basic and Modified Options of the Partial Cover Lowered Alternative maintain the north-south
 neighborhood connections across the highway. The Basic Option was developed to provide better east-west
 connectivity. The Modified Option was developed to better connect the community north-south across the
 highway through changes to traffic circulation.

 Design variations include additional connections across the highway for all transportation modes, including
 vehicles, bicycles, and pedestrians. The locations of these crossings are dependent on the type of
 intersection at Steele Street/Vasquez Boulevard, as previously discussed. Design variations for north-south
 crossings include a new multimodal crossing at Fillmore Street, a new pedestrian/bike crossing at Milwaukee
 Street, and moving the Monroe Street crossing to Jackson Street. Other crossing locations also can be
 considered.




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 6.             Capital and maintenance costs
 The cost to construct and maintain the project is an important factor in identifying the best alternative for the
 project. The capital cost is a fixed, one-time expense incurred for purchase of ROW, construction materials,
 and labor to construct a project. The maintenance cost is the ongoing cost incurred to keep the road in good
 condition and operational. This section discusses capital and maintenance costs of the project alternatives.


 6.1.           Capital costs
 Capital cost estimates for alternatives evaluated in the Supplemental Draft EIS are based on conceptual
 design engineering and are reported in 2013 dollars. Because of price increases in the highway construction
 industry, these costs should be updated annually to reflect actual expected costs. Major elements of the
 estimates include earthwork, utility relocation, roadway and structure construction, and ROW acquisition.
 Table 4 shows the preliminary capital cost breakdown of each alternative and option from Brighton
 Boulevard to Colorado Boulevard and Colorado Boulevard to Tower Road.

 Between Brighton Boulevard and Colorado Boulevard, the cost for general-purpose and managed lanes
 options has been estimated to be the same. For the remainder of the corridor between Colorado Boulevard
 and Tower Road, the cost difference between options is the cost to construct three direct connections from
 the managed lanes to I-270, I-225, and Peña Boulevard that is not needed under the general-purpose
 option.

 Table 4.            Capital cost estimate

                                                                               Capital Cost, I-25 to Tower
                                                                                (in millions of 2013 dollars)
                       Alternatives/Options
                                                                       General-Purpose             Managed Lanes
                                                                        Lanes Option                  Option1

     No-Action Alternative, North Option                                           $550                           N/A
     No-Action Alternative, South Option                                           $540                           N/A
     Revised Viaduct Alternative, North Option                                   $1,490                    $1,640
     Revised Viaduct Alternative, South Option                                   $1,500                     $1,660
     Partial Cover Lowered Alternative, Basic Option                             $1,680                     $1,810
     Partial Cover Lowered Alternative, Modified Option                          $1,760                    $1,890
 1
     The Managed Lanes Option does not include costs associated with tolling infrastructure and implementation.

 6.1.1.         Construction jobs
 The job creation and economic stimulus estimates for the I-70 East Corridor EIS are based on the Regional
 Economic Impact Model for Highway Systems (REIMHS), a sketch planning input/output model of highway
 construction activity developed by the Federal Highway Administration (Politano & Roadifer, 1989). The
 economic output includes the multiplier effect of direct construction dollars being respent in service or other
 sectors of the economy, as well as the ongoing efficiency gains from improved highway travel. Economic
 activity generated by the proposed project would benefit the Denver area as well as the regional labor and
 material markets for highway-related construction. From the model, the total number of jobs (full-time person
 years of employment positions) created would be about 9.6 jobs for each $1 million of highway investment in
 urban interstate-type construction, adjusting for inflation.




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 For the range of project alternatives, the total construction jobs range from about 4,500 for the No-Action
 Alternative to 16,000 based on the alternative options, as shown in Table 5. Regional economic output would
 roughly increase by $2 billion with the expenditure of the construction funds. The job increases and most of
 the economic output increases would take place in the year of the construction expenditures.

 Table 5.          Economic impact of I-70 East Corridor (millions of 2013 dollars)

                                         Construction
                                                               Regional                            Total Jobs
                                            Value
                                                               Economic         Total Earnings      (Person
            Alternative/Option            including                             (millions of 2013
                                                                Output                              Years of
                                         Engineering        (millions of 2013        dollars)
                                          (millions of
                                                                 dollars)
                                                                                                  Employment)
                                         2013 dollars)1
   No Action Alternative,
                                                   536                  943                 247            5,100
   North Option
   No Action Alternative,
                                                   518                  912                 238            4,900
   South Option
   Revised Viaduct Alternative,
   North Option with General-                    1,447                2,547                 666          13,800
   Purpose Lanes
   Revised Viaduct Alternative,
   South Option with General-                    1,453                2,557                 668          13,900
   Purpose Lanes
   Partial Cover Lowered
   Alternative, Basic Option with                1,615                2,842                 743          15,400
   General-Purpose Lanes
   Partial Cover Lowered
   Alternative, Modified Option with             1,604                2,823                 738          15,300
   General-Purpose Lanes
   Revised Viaduct Alternative,
   North Option with Managed                     1,575                2,772                 725          15,000
   Lanes
   Revised Viaduct Alternative,
   South Option with Managed                     1,593                2,804                 733          15,200
   Lanes
   Partial Cover Lowered
   Alternative, Basic Option with                1,735                3,054                 798          16,600
   Managed Lanes
   Partial Cover Lowered
   Alternative, Modified Option with             1,723                3,032                 793          16,500
   Managed Lanes
  Sources: A.L. Politano and Carol J. Roadifer, Regional Economic Impact Model for Highway Systems, Transportational
  Research Record 1229, Transportation Research Board, Washington D.C., 1989. (Model adjusted to reflect inflation.)
  Atkins, 2014
  Note: Construction value does not include right of way costs.


 6.2.         Maintenance costs
 Four major elements were used to evaluate the differences between alternatives with regard to maintenance
 considerations. These items are bridges, retaining walls, pavement, and the highway cover maintenance.
 Table 6 shows the total anticipated maintenance cost for the alternatives and options. The maintenance of



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 the cover is anticipated to be conducted by parties other than CDOT, who are not identified at this time.
 CDOT is working with Denver to identify the cost of maintaining the amenities on the cover.

 Drainage, water quality treatments, traffic barriers, and other incidental items are similar between options
 and do not have a large cost difference between alternatives and options. These are not included in the
 maintenance cost comparison. The construction of the traffic lanes, bridges, and walls is equal between all
 the options.

 Table 6.          Supplemental Draft EIS alternatives maintenance cost summary

                                                                                    Annual Maintenance Cost
                          Alternatives/Options
                                                                                (in millions of 2013 dollars per year)

     No-Action Alternative                                                                      $10.3
     Revised Viaduct Alternative                                                                $16.3
     Partial Cover Lowered Alternative, Basic Option                                            $11.7
     Partial Cover Lowered Alternative, Modified Option                                         $11.6
  Note: There is no maintenance cost difference shown between general-purpose lanes and managed lanes. The costs
  do not reflect the maintenance of the tolling infrastructure. These costs are calculated based on the widest footprint and
  will be refined in the Final EIS.


 Maintenance costs for existing infrastructure is not available for the No-Action Alternative other than the cost
 of the new viaduct structure.

 The yearly cost for the maintenance of Brighton Boulevard to Colorado Boulevard is based on the following:

      Bridge maintenance. Bridge maintenance is $5 per square foot of deck, which includes the deck repair,
       (estimated to be required every 15 to 20 years), expansion joint replacement every 10 years,
       waterproofing of the piers and girders on a regular basis, traffic control for the repair work, sound wall
       and guardrail repair. This also was the cost established for the 2008 Draft EIS operation and
       maintenance, which was reviewed and found to be reasonable.
      Retaining wall. For maintenance and repair, $1 per square foot was estimated. The cost for this work is
       reasonable based on experience. This cost also was used for the 2008 Draft EIS operation and
       maintenance cost, which was reviewed and found to be reasonable.
      Guardrail. Guardrail was removed from the analysis and comparison because it is assumed to be
       similar between alternatives. Operation and maintenance is based on experience with Vail Pass
       guardrail that has been in place 35 years. It is estimated that about 50 percent needs to be replaced:
       $100 per linear foot x 0.5/35 = $1.43. Yearly minor repairs are estimated at $0.50 per linear foot. In
       agreement with the 2008 Draft EIS maintenance estimate, $2.00 per linear foot was used.
      Tunnel costs. Tunnel cost was determined at $1,100,000 per year based on the yearly operating cost of
       the Wolf Creek Tunnels adjusted for the width ($420,000). The upgrade, replacement, and maintenance
       costs of the additional physical systems, such as fans, water stand pipes, lighting, etc., is based on 12
       percent of the estimated construction costs of these items. The Wolf Creek Tunnels’ maintenance plan
       has not yet had to address these items and does not have program costs over an extended time period.
      Managed lane costs. Tolling costs are not included in the estimate.
      General pavement maintenance. The lane mile maintenance cost is from the costs supplied by CDOT
       maintenance and based on the region’s historic records.




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 7.          Project financing
 The proposed Managed Lanes will not produce sufficient revenues to pay for the Project, and are primarily
 being proposed as a traffic management tool. The revenues from the proposed Managed Lanes will help
 offset the cost of operating and maintaining the improvements. Policymakers will need to demonstrate a
 reasonable likelihood of funding from other sources to implement the entire project, or a logical phasing of
 the project, before inclusion in the fiscally constrained section of the DRCOG 2035 MVRTP.

 CDOT is currently evaluating the potential revenue that might be generated from the Managed Lanes Option.
 This document does not include detailed finance plans for the alternatives under consideration. Finance
 plans will be developed as part of the Final EIS and will reflect anticipated funding, as well as financing
 strategies.

 Financing options for I-70 East have been under active consideration by CDOT. To date, approximately
 $1.17 billion has been identified from the following potential funding sources for the I-70 East project.

     Bridge Enterprise Revenues ($850 million)
     DRCOG/STP Metro/CMAQ funds ($50 million)
     SB09-228 funds ($271 million)

 The I-70 East project is part of a coordinated regional transportation planning process intended to ensure
 regional air quality conformity and to identify project funding. The transportation planning process in the
 Denver region is guided by DRCOG, which serves as the region’s metropolitan planning organization and
 develops both short-term and long-term transportation plans.

 The planning documents developed by DRCOG and currently used by various state and local agencies to
 prioritize improvements and identify transportation projects are the 2035 MVRTP (2011) and the 2012–2017
 Transportation Improvement Program(TIP) (2012a).

 In addition to the documents developed by DRCOG, CDOT also produces transportation plans for the state.
 These have recently included Colorado’s 2035 Statewide Transportation Plan (STP) (CDOT, 2007a) and
 the 2012–2017 Statewide Transportation Improvement Program (STIP) (CDOT, 2012b). Exhibit 3-28 shows
 the relationship between the planning documents developed by DRCOG and CDOT. The 2008 Draft EIS
 describes these planning documents in more detail.

 CDOT is currently evaluating the potential revenue that might be generated from the Managed Lanes Option.
 This analysis will reflect forecasts of traffic using the managed lanes and the cost of operating the managed
 lane facilities. It is unlikely that revenue generated by the Managed Lanes Option will fund the construction of
 the entire project. It will, however, help in funding the operation and maintenance costs of the highway. This
 document does not include detailed finance plans for the alternatives under consideration. Finance plans will
 be developed as part of the Final EIS and will reflect anticipated funding, as well as financing strategies.

 In addition to defining overall transportation system needs, the 2035 MVRTP includes the Fiscally
 Constrained Regional Transportation Plan (RTP). The Fiscally Constrained RTP includes only those
 transportation projects from the 2035 MVRTP that can be built by 2035 based on current forecasts for
 transportation funding. Regionally significant projects like the highway improvements that are being
 considered as part of this EIS must be part of the Fiscally Constrained RTP and TIP to be eligible for federal
 funding.

 The I-70 East EIS project is part of a coordinated regional transportation planning process intended to
 ensure regional air quality conformity and to identify project funding. The transportation planning process in




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 the Denver region is guided by DRCOG, which serves as the region’s metropolitan planning organization
 and develops both short-term and long-term transportation plans.

 The planning documents developed by DRCOG and currently used by various state and local agencies to
 prioritize improvements and identify transportation projects are the Metro Vision 2035 Plan (2007), 2035
 MVRTP, and the 2012–2017 Transportation Improvement Program (TIP) (2012a).

 In addition to the documents developed by DRCOG, CDOT also produces transportation plans for the state.
 These have recently included Colorado’s 2035 Statewide Transportation Plan (STP) (CDOT, 2007a) and the
 2012–2017 Statewide Transportation Improvement Program (STIP) (CDOT, 2012b). Figure 38 shows the
 relationship between the planning documents developed by DRCOG and CDOT. The 2008 Draft EIS
 describes these planning documents in more detail.

 Components of the I-70 East EIS are included in planning documents as discussed below.

 2035 Metro Vision Regional Transportation Plan
 The 2035 MVRTP provides the vision for the Denver metropolitan area’s transportation system. The 2035
 MVRTP includes a corridor vision and strategies specifically for I-70.

 In addition to defining overall transportation system needs, the 2035 MVRTP includes the Fiscally
 Constrained Regional Transportation Plan (RTP). The Fiscally Constrained RTP includes only those
 transportation projects from the 2035 MVRTP that can be built by 2035 based on current forecasts for
 transportation funding. Regionally significant projects like the highway improvements that are being
 considered as part of this EIS must be part of the Fiscally Constrained RTP and TIP to be eligible for federal
 funding.

 Currently, the only I-70 improvements within the project area that are listed in the Fiscally Constrained RTP
 are a new interchange at Central Park Boulevard (completed in 2012), future replacement of the viaduct from
 Brighton Boulevard to York Street ($256 million, 2008 dollars), and travel lanes to be added from I-270 to
 Havana Street ($166 million, 2008 dollars).




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 Figure 38.      Relationship between DRCOG and CDOT planning documents


              Regional Planning                                        State Planning
                  (DRCOG)                                                  (COOT)
                                                                           (CDOT)

              Metro Vision 2035 Plan




                 2035 Metro Vision
                     Regional
                Transportation Plan                                          2035
                                                                           Statewide
              Fiscally Constrained 2035                                Transportation Plan
               Regional Transportation
                         Plan




                    2012-2017
                                                                            4-
                                                                           2012-2017
                                                                           Statewide
                  Transportation
                                                                         Transportation
               Improvement Program
                                                                      Improvement Program




 2012–2017 Transportation Improvement Program
 The 2012–2017 TIP is a six-year implementation program for the Fiscally Constrained RTP that is required
 by federal regulations. For projects to be included in the TIP, they must be identified in the Fiscally
 Constrained RTP. The TIP identifies all federally funded transportation projects anticipated for the Denver
 metropolitan area during fiscal years 2012 to 2017. Within the project area, the current TIP includes a new
 interchange on I-70 at Central Park Boulevard (completed in 2012). It also includes the funding for this
 environmental study.

 2012–2017 Statewide Transportation Improvement Program
 The STIP is the planning document that identifies the transportation projects CDOT intends to fund over a
 six-year period. Currently, projects through 2015 have been programmed to receive funding. The STIP is
 prepared in cooperation with local governments throughout the state and is developed concurrently with
 DRCOG’s TIP. All state and federally funded transportation projects are included in the STIP. Projects
 included in the STIP are consistent with the STP and conform to the applicable state air quality
 implementation plan.

 The 2012–2017 STIP includes funding for the development of the I-70 East EIS, repairing portions of the I-70
 viaduct from Brighton Boulevard to Colorado Boulevard, and the construction of a new interchange at
 Central Park Boulevard (completed in 2012).




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 8.            Preliminary identification of the
               Preferred Alternative
 After receiving numerous comments on the 2008 Draft EIS that was published, FHWA and CDOT decided to
 go through a PACT process to identify the Preferred Alternative via a consensus recommendation.

 The PACT process failed to reach consensus on the Preferred Alternative; therefore, per the PACT protocols
 approved in July 2010, “If consensus is not possible, then the level of support and dissent will be noted and
 all deliberations and products of the PACT will be considered by the lead agencies in their decision making.”
 In this case, CDOT and FHWA make the decision on what the Preferred Alternative will be, taking into
 consideration all of the work the PACT performed throughout the process and input from the community
 since that time.

 FHWA and CDOT have preliminarily identified the Partial Cover Lowered Alternative with Managed Lanes
 Option as the Preferred Alternative for I-70 East because it meets the project purpose and need, best
 addresses community concerns, has community and agency support, and, with the proposed mitigations,
 appears to cause the least overall impact. The two Connectivity Options (Basic and Modified) for the Partial
 Cover Lowered Alternative are being evaluated in more detail and the selected Preferred Alternative may
 include elements of the Basic or Modified Options.

 Preliminary identification of a preferred alternative in the Supplemental Draft EIS allows the project to move
 forward into early action items such as agency coordination, right-of-way acquisition, and hazardous material
 site assessments. This advanced work can help the project progress, and be ready for construction shortly
 after the ROD is completed.

 FHWA and CDOT will consider feedback provided during the Supplemental Draft EIS public review process
 before identifying the Preferred Alternative in the Final EIS.

 8.1.1. How was the Preferred Alternative preliminarily
        identified?
 Many factors were considered in preliminarily identifying the Preferred Alternative. These factors included:

    Support from the community
    Environmental justice mitigation measures
    Neighborhood cohesion
    Support from local officials
    Swansea Elementary School location
    Visual and aesthetic qualities
    Drainage
    Comparison of potential impacts to the environment
    Cost effectiveness

 Each of these factors is explained in the following subsections.

 Support from the community
 The project team used an extensive public involvement approach leading up to and following the release of
 the 2008 Draft EIS. Throughout the many opportunities to provide input, the majority of the public who are



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 impacted by the project and live within the project area have consistently expressed a preference for the
 Partial Cover Lowered Alternative.

 Environmental justice mitigation measures
 The Partial Cover Lowered Alternative allows for more mitigation measures to alleviate the highway impacts
 to the low-income and minority populations. It includes a cover on the highway from Columbine Street to
 Clayton Street. The 900-foot-long cover includes a four-acre open space/park with the potential to include
 playgrounds, plazas, outdoor classrooms, and community gardens.

 While the initial impact to the Swansea Elementary School property would be considerable, the Partial Cover
 Lowered Alternative allows for the school site layout reconstruction to include an additional 0.4 acre for
 school facilities. It also places the school next to the four-acre park/open space on the highway cover that
 includes amenities that would benefit the school and students.

 Neighborhood cohesion
 All evaluated alternatives would maintain connectivity in the study area in some sense. Although the Partial
 Cover Lowered Alternative eliminates some local north-south connectivity, it provides a greater sense of
 neighborhood cohesion by removing the dominant visual barrier created by the highway structure in this
 neighborhood, particularly near the proposed cover.

 Support from local officials
 A letter supporting the Partial Cover Lowered Alternative was received on June 6, 2013, from Commissioner
 Eva Henry of Adams County, Mayor Michael Hancock of Denver, and Mayor Sean Ford of Commerce City.
 Their preference for this alternative is based on improved pedestrian connections and facilities assimilated
 with the highway cover, as well as overall improvement to north-south and east-west movement in the
 corridor. CDOT will continue to work with local jurisdictions after publishing the Supplemental Draft EIS to
 refine and improve the design of this alternative.

 Swansea Elementary School location
 The Swansea Elementary School has been identified as a very important and valuable resource in the Elyria
 and Swansea Neighborhood. The Partial Cover Lowered Alternative provides the best solution compared to
 the other alternatives to keep the school in the neighborhood at its current location. The alternative also
 redesigns and expands the school grounds and provides upgrades to the school building.

 Visual and aesthetic qualities
 The Partial Cover Lowered Alternative includes noise walls or safety barriers of 10 to 20 feet, which will
 provide an opportunity for inclusion of meaningful artwork in the neighborhood. Noise walls or safety barriers
 would not be required in the area where the cover is located, providing a clear north-south view across the
 highway. The dominating visual presence of the highway would greatly decrease with this alternative.

 Drainage
 With the Partial Cover Lowered Alternative, an extensive drainage system is required on the north and south
 sides of I-70. Although the Revised Viaduct Alternative also improves the drainage system, the Partial Cover
 Lowered Alternative greatly improves drainage in the surrounding neighborhoods. The drainage system
 south of I-70 with the Partial Cover Lowered Alternative would capture the water flow and eliminate water
 from running into the proposed below-grade highway, while also alleviating flooding in the neighborhood
 north of it.

 Project impacts
 Both Build Alternatives share the same impacts in the eastern end of the corridor (east of Colorado
 Boulevard). The only difference in impacts occurs in the Elyria and Swansea Neighborhood between
 Brighton Boulevard and Colorado Boulevard. These differences are summarized in the following
 subsections. For a more in-depth discussion of project impacts, refer to Chapter 5, Affected Environment,
 Environmental Consequences, and Mitigation.



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 Property acquisitions. More property acquisitions are required with the Partial Cover Lowered Alternative
 compared to the Revised Viaduct Alternative. Both alternatives would compensate these landowners in
 accordance with the U.S. Constitution and the Uniform Act. Table 7 shows the number of estimated property
 acquisitions (residential units and businesses) by alternative.

 Table 7.         Build alternatives property acquisitions

                                                                           Property Acquisitions
                      Alternatives/Options                              Housing               Business
                                                                         Units               Relocations

     Revised Viaduct Alternative                                        38 to 44                15 to 24
     Partial Cover Lowered Alternative                                  49 to 53                  20


 Noise. Noise analysis results show that there are fewer impacts with the Partial Cover Lowered Alternative
 due to the 900-foot cover placed in a primarily residential area that suppresses the highway noise in that
 location. Also, the lowered profile of the highway reduces the highway traffic noise impacts in the
 surrounding neighborhoods.

 Wetlands and other waters of the U.S. Wetland impacts are the same for both Build Alternatives. Impacts
 to other waters of the U.S. (specifically, the South Platte River) differ by 0.005 acre. The drainages required
 under the Build Alternatives would cause minor impacts to the South Platte River. Both Build Alternatives
 would construct a drainage system north of I-70 and would have the same potential impacts (0.001 acre
 temporary) to the river as a result of this system. However, only the Partial Cover Lowered requires a
 drainage system south of I-70, which results in 0.005 acre of additional temporary impact to the South Platte
 River channel. The addition of bridge piers at Sand Creek also results in impacts to other waters of the U.S.
 by both Build Alternatives; however, the impacts would be the same (0.0001 acre permanent and 1.194 acre
 temporary).

 Railroads. The Partial Cover Lowered Alternative may adversely affect the Union Pacific Railroad and BNSF
 Railway historic railroad bridges. The bridges will be replaced to maintain railroad operations with both of the
 Build Alternatives. There is a potential impact to the Union Pacific rail yard, as well, with the Partial Cover
 Lowered Alternative.

 Historic resources. The Partial Cover Lowered Alternative, Basic Option has the potential to affect 72
 eligible or listed historic properties and contributing properties, compared to 61 to 68 properties with the
 Revised Viaduct Alternative. Ultimately, the Partial Cover Lowered Alternative, Basic Option adversely
 affects eight to 16 additional historic properties not affected by the Revised Viaduct Alternative, including
 contributing properties to the Alfred R. Wessel Historic District.

 Hazardous materials. The Revised Viaduct Alternative would potentially encounter the least amount of
 hazardous materials (21 to 22 sites versus 26 for the Partial Cover Lowered Alternative). The nature of the
 potential effects is better known because major subsurface excavation is not required. Disturbing greater
 volumes of soil and/or groundwater, as in the Partial Cover Lowered Alternative, increases the potential to
 affect hazardous materials.

 Other resources. There is very little difference between the Revised Viaduct Alternative and Partial Cover
 Lowered Alternative in terms of impacts to other resources. With mitigation, most project impacts can be
 avoided or minimized.




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 Cost Effectiveness
 FHWA and CDOT considered the capital cost of each alternative. The Revised Viaduct Alternative with
 Managed Lanes Option costs approximately $1,640 to $1,660 million to construct and the Partial Cover
 Lowered Alternative with Managed Lanes Option costs approximately $1,800 to $1,810 million to construct.
 This difference of $150 to $160 million represents approximately 8 percent to 10 percent of the total
 construction cost.

 Managed Lanes Option consideration
 The Managed Lanes Option was preliminarily identified as the Operational Option of the Preferred
 Alternative in response to the Colorado Transportation Commission Policy Directive 1603.0 (CDOT Office of
 Policy & Government Relations, 2013). This directive requires managed lanes to be strongly considered
 during the planning and development of capacity improvements on any state highway facilities (CDOT Office
 of Policy & Government Relations, 2013) for the following reasons:

 Operational flexibility and mobility. Long-term operational flexibility and mobility is the major benefit of the
 Managed Lanes Option. The option allows adjustments to be made to traffic operations in real time. In
 addition, managed lanes provide drivers with flexibility by allowing them to pay a fee to bypass congestion on
 general-purpose lanes. This can improve reliability in travel times. It also allows CDOT to manage
 congestion over the long term, thereby reducing the need for future expansion. The Managed Lanes Option
 also has a higher throughput potential in terms of accommodating more people at a given time. This option
 accommodates express buses, vanpools, and other high-occupancy vehicles and, therefore, it can provide
 increased service to those riders. This also promotes use of the RTD buses and carpools to avoid
 congestion.

 Construction and operating costs. The Managed Lanes Option would cost approximately $150 to $170
 million more than the General-Purpose Lanes Option, primarily because of the cost to accommodate direct
 connections—including associated property impacts. However, the Managed Lanes Option would reduce
 CDOT’s annual operating cost responsibility, assuming that a portion of the operation and maintenance cost
 for the managed lanes is covered by revenue.

 Financial flexibility. While the Managed Lanes Option requires more capital investment and increases total
 operating and maintenance costs, it also brings another source of capital to the project that could be critical
 within the current financial environment.

 Financial analysis is still underway to assess the financial feasibility of the Managed Lanes Option and
 whether net revenue after operations, maintenance, and debt service would be contributed to the project,
 thus reducing the need for traditional federal and state gas tax revenue. While it is unlikely that the Managed
 Lanes Option tolls would pay for the entire cost of the project, it seems far more likely that tolls would support
 reasonably allocated costs, which can be attributed to tolling (for example, additional right of way, tolling
 infrastructure, and tolls operations).


 9.          Construction phasing of the
             Preferred Alternative
 This section describes, in general terms, the construction phasing and sequencing for the Preferred
 Alternative. Specific construction methods and detailed traffic control plans will be developed later when
 more detailed design plans are prepared. Conceptual phasing assumptions are evaluated, however, to
 determine the potential environmental effects. Construction mitigation measures and commitments are
 included in the separate resource sections in Chapter 5 of the Supplemental Draft EIS.




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 Without the inclusion of additional capacity on other roadway systems or use of other traffic management
 strategies; existing I-70 traffic flow will be maintained—meaning that the same number of traffic lanes that
 currently exist will remain during construction.

 The construction work is substantial, involving new highway facilities, railroad bridges, local street bridges,
 storm drainage outfalls and collection system, utilities, pavement reconstruction, permanent traffic controls,
 and so on. Construction will result in impacts to the travelling public, businesses, and residents. Construction
 phasing strategies are based on minimizing these effects. During final plan development, specific detailed
 traffic control plans will be prepared. Trade-offs between larger effects to traffic but shorter duration of
 construction versus smaller effects to traffic but longer duration of construction will be considered. An
 example is a ramp closure that will accelerate construction versus maintaining access to the ramp, requiring
 additional phases and longer duration.

 The construction phasing analysis identifies some of the issues involved with maintaining traffic and railroad
 operations during the work. The intent being to confirm that there is a construction phasing scenario that can
 be accomplished and the associated environmental effects are generally understood. The actual phasing
 and timing of the work will be determined during a later phase of the project.

 The anticipated construction phasing is described for two sections: Brighton Boulevard to Colorado
 Boulevard and Colorado Boulevard to Tower Road. The Brighton Boulevard to Colorado Boulevard section
 involves unique phasing considerations because existing I-70 is located on a viaduct structure. The Colorado
 Boulevard to Tower Road section involves reconstruction and widening generally on the existing alignment
 of I-70. Table 8 summarizes the proposed construction elements for each construction phase.

 Table 8.           Summary of proposed construction phasing elements

            Phase              Proposed Construction                I-70 Traffic            Local Traffic
                              ROW acquisition and
   Pre-Construction                                           No change                 No change
                               building demolition
                              Build storm drainage outfall
                              Build I-70 westbound
                               lowered section                Remains in current        Closures of 46th
   Phase I                    Build westbound 46th           condition on existing     Avenue and north-
                               Avenue                         viaduct structure         south streets
                              Build Union Pacific railroad
                               bridge
                               Remove existing viaduct       Both eastbound and
                                structure                     westbound traffic
                                                                                        Closures of 46th
                               Build I-70 eastbound          detoured to new
   Phase II                                                                             Avenue and north-
                                lowered section               lowered section (three
                                                                                        south streets
                               Build eastbound 46th          lanes in each
                                Avenue                        direction)



 9.1.          Brighton Boulevard to Colorado Boulevard construction
               phasing
 The proposed geometric layout for the Partial Cover Lowered Alternative allows I-70 traffic to remain on the
 existing viaduct during phase I construction. Under the Basic Option, the distance between the centerline of
 proposed I-70 and the north edge of the existing I-70 is 60 feet at York Street, 54 feet at Swansea
 Elementary School, and 61 feet east of Steele Street. Under the Modified Option, the centerline of proposed
 I-70 is shifted 24 feet closer to the existing edge of the viaduct, increasing the phasing complexities. Under
 both options, the construction of proposed westbound I-70 can be completed while maintaining traffic on the
 existing viaduct. This significantly reduces impacts to existing traffic operations and reduces the time



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 required for construction. Following completion of phase I construction, all I-70 traffic will be detoured to the
 newly constructed I-70 westbound. Also, 46th Avenue will be constructed on the north side and can be used
 for local access during the phase II work.

 During phase I construction, the existing westbound interchange ramps will be affected, requiring special
 phasing or temporary structures to maintain accesses. During phase II, the eastbound interchange ramps
 will be affected, requiring special phasing and modification to present entrance and exit locations.

 The major elements of the proposed construction phasing are shown in Figure 39.

 Figure 39.       Brighton Boulevard to Colorado Boulevard construction phasing


      Phase I


                                                                                 Westbound 1-70     Eastbound 1-70

                                                           $
                                      Build
                        New 1-70 westbound -4—
                                            .4—                              1
                 and westbound 46th Avenue

                                                                                 Ei titI f
                                                                                  Westbound          Eastbound
                                                                                  46th Avenue       46th
                                                                                                    40th Avenue


                                                                        Maintain existing
                                                                        1-70 and 46th Avenue traffic


                                                    View Looking East




      Phase II

                                                           C
                 1-70 traffic on new construction                        Remove existing 1-70 viaduct
                                                                         and build 1-70 eastbound and
                             and new 46th Avenue
                                                                         eastbound 46th Avenue




                                                    View Looking East



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 The work involves reconstruction of the Brighton Boulevard, Steele Street/Vasquez Boulevard, and Colorado
 Boulevard interchanges. The York Street interchange is proposed to be removed for the final improvement.
 The timing for removal is unknown; however, local access served by the York Street interchange will remain
 accommodated during the construction.

 9.1.1.        Brighton Boulevard interchange
 The work involves replacing the I-70 bridge superstructure over Brighton Boulevard with expansion to the
 north and reconstructing the east side ramps. The work will be completed in two phases. During phase I, all
 traffic will be detoured to the eastbound side while the westbound side is reconstructed and widened. During
 phase II, all traffic will be detoured to the westbound side while the eastbound side is reconstructed.

 9.1.2.        Steele Street/Vasquez Boulevard interchange
 The work involves complete reconstruction and replacement. The proposed Steele Street/Vasquez
 Boulevard crossing will be over the lowered part of I-70. North and south connectivity will be maintained
 throughout construction.

 9.1.3.        Colorado Boulevard interchange
 The work involves complete reconstruction and replacement. The new I-70 grade below Colorado Boulevard
 and the new Colorado Boulevard bridge over I-70 will be lower than the existing. The phasing will account for
 the lowering and anticipates shifting the bridge to replace it in two phases.

 A major element of the work is the construction of a Union Pacific railroad bridge over the lowered I-70.
 Current rail traffic must be maintained, which will likely require the bridge to be constructed in multiple
 phases. Meeting Union Pacific Railroad standards affects the phasing and duration of the construction.
 Union Pacific Railroad will require approval of the track design for their facilities.

 A key consideration is maintaining access to businesses, safe pedestrian crossing and providing north-south
 connectivity across I-70 during the construction. At a minimum, one north-south local street will remain open
 at all times between the Union Pacific Railroad and Steele Street/Vasquez Boulevard, including a safe
 pedestrian crossing. Between the BNSF Denver Market Lead and Colorado Boulevard, access to the south
 of I-70 must be maintained, similarly to the present-day 46th Avenue access. No other access to this area
 exists.

 Access for Swansea Elementary School and National Western Stock Show is required during periods of
 activity and events.

 The total duration of construction for the Brighton Boulevard to Colorado Boulevard segment is uncertain, but
 is anticipated to last a minimum of four years to a maximum of six years.


 9.2.          Colorado Boulevard to Tower Road construction phasing
 The reconstruction generally maintains the existing alignment of I-70 and widening would occur along both
 sides of I-70. In general, the work would be completed in two phases by detouring I-70 traffic to one side
 while reconstructing the opposite side. A summary of the construction phasing is shown in Figure 40.
 Without the inclusion of additional capacity on other roadway systems or use of other traffic management
 strategies; the existing I-70 laneage will be maintained during the construction.




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 Figure 40.       Colorado Boulevard to Tower Road phasing summary


        Phase I



              Temporary
               Widening           Existing 1-70         I   -)ik11' Build
                                                             )       Buildnew
                                                                           new 1-70
                                                                               1-70




      1-210612•62444
           °
                          Existing 1-70 laneage will be maintained during construction.
                               Six lanes west of 1-270 and east of Pena Boulevard
                                     and eight from 1-270 to Pena Boulevard




        Phase II




                                  Build
                                                            -) 1-70 traffic on new
                                                                     1-70 traffic     construction
                                                                                  on new construction
                               New 1-70           4-




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  Attachment C – Appendix A
  PACT Process Evaluation Matrix
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   t                                                                                                                                                                    I-70 East PACT
PAC    T ENVIRONMENTAL IMPACT STATEMENT
       l Preferred Alternative Collaborative Team                                                                                                              DRAFT EVALUATION DATA



                                                                                Future Current Alignment            Future Realignment
                                                                                                                                                        Justification for evaluation
              Interest                              Suggested Metrics             North           South             West                  East

NEIGHORHOOD QUALITY:
Maintain quality of life and protect community values.
                                                                                                             Increased barrier from traffic from
                                                                                                               Brighton Blvd diverting to 48th
                                                                              Increased barrier effect in
                                                                                                              and Race on south in Elyria and
Improve or maintain neighborhood          Assess neighborhood cohesion and residential and other portions of
                                                                                                                 Swansea. I-70 aligns with
connectivity                              barriers within community         Elyria Swansea due to wider I-
                                                                                                               existing barrier of Brighton Bl.,
                                                                                          70.
                                                                                                              NWSS, industrial land uses and
                                                                                                                            creek.

Avoid/minimize impacts to
                                          Number of local schools relocated          1               0                            0
neighborhood education facilities


                                          Acres of ROW                             204              198             415                    336



                                          Number of residential units
                                                                                    93              64               18                     53
                                          displaced
Minimize impact on neighborhoods
from highway infrastructure
                                          Number of partial residential
                                                                                     7               7               12                     9
                                          property acquisitions

                                          Number of local community
                                          resources lost; markets, school,           4               2                            2
                                          P.O., rescue mission.

                                                                                                               I-70 aligns with         Increased
                                                                                                               existing barrier        barrier effect
Maintain Neighborhood connection                                                                               of Brighton Bl.,       along Brighton
                                 Assess I-70 as barrier                        Maintains existing connection
to the South Platte River                                                                                          NWSS,                Bl., NWSS,
                                                                                                               industrial land        industrial land
                                                                                                                    uses.                   uses.




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                                                                          Future Current Alignment                Future Realignment
                                                                                                                                                  Justification for evaluation
              Interest                     Suggested Metrics                 North            South               West              East

TRANSPORTATION:
Provide mobility, access and safety improvements to the corridor

A) Mobility: Provide for the seamless movement of goods and people through all modes of transportation.

Increase mobility for highway       Improve travel time between I-25     Westbound - 17.6 minutes            Westbound - 17.1 Minutes
through traffic                     and Tower Rd.                        Eastbound - 22.8 minutes            Eastbound 21.6 minutes
                                                                            Heavier traffic on Brighton
                                                                         between I-70 and 44th Ave.; on
                                                                          Colorado Bl. Between I-70 and   Brighton St. becomes more
                                                                                                                                                  Improvements in some locations may be
                                                                          Smith Rd.; and on Quebec St. circuitous; changes to 46th Ave.
                                                                                                                                                  offset by impacts at other locations. All
Improve local traffic operation     Changes to local street networks     between I-70 and Sandown Rd.; result in changes to circulation
                                                                                                                                                  alternatives decrease cut-through traffic
                                                                          changes to 46th Ave. result in and connectivity of numerous
                                                                                                                                                  on neighborhood streets.
                                                                            changes to circulation and             roadways
                                                                             connectivity of numerous
                                                                                   roadways.

                                                                          York St. interchange removal
                                                                                                              Increase in truck traffic on 46th
                                                                         marginally increase truck traffic                                        Improvements in some locations may be
Improve
  p     freight
            g movement byy truck                                                                                Ave. due to conversion from
                                                                         on local streets
                                                                                  streets, mainly through                                         offset by impacts at other locations
                                                                                                                                                                             locations.
                                                                                                                         freeway.
                                                                                changing routes.

                                                                          Viaduct extended to maintain         Underpass crossings of I-70
Improve bicycle and pedestrian                                                                                                                    New crossings and facilities can be
                                    I-70 crossings                         Columbine and/or Clayton           become at grade crossings of
facilities                                                                                                                                        added to all alternatives.
                                                                           Street crossings under I-70                 46th Ave.


                                                                                                                                              Analysis uses DRCOG's 2030 traffic
                                                                                                                                              model; Elyria Swansea plan features
Prepare for changing transportation Alignment with local, regional and                                                                        revitalized 46th Ave. with I-70 removed;
                                                                         Aligns with NWSS Station Plan       Aligns with Elyria Swansea plan.
needs                               state planning                                                                                            NWSS Station Plan to be finalized
                                                                                                                                              December 2010; all alternatives align
                                                                                                                                              with Commerce City Comp plan.




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                                                                         Future Current Alignment                Future Realignment
                                                                                                                                             Justification for evaluation
               Interest                      Suggested Metrics              North            South            West               East


B) Access: Provide convenient, direct, and efficient access around neighborhoods.


                                                                                                          Use of 46th Ave. instead of I-70 All interchanges would be improved to
Improve neighborhood access
                                      Changes to key interchanges        Remove York St. interchange,       to access Elyria Swansea       operate at LOS D, regardless of
from I-70.
                                                                                                                  neighborhoods.           alternative chosen.



                                                                         Viaduct extended to maintain       Underpass crossings of I-70
Improve access to neighborhood                                                                                                               All alternatives have improvement to
                                      I-70 crossings                      Columbine and/or Clayton         become at grade crossings of
recreation centers, schools                                                                                                                  local neighborhood mobility.
                                                                          Street crossings under I-70               46th Ave.


                                                                                                                             Requires
                                                                                                           Requires
                                                                                                                             additional
                                                                        Consistent with Consistent with    additional
                                      Consistency with proposed                                                           coordination with Three stations in close proximity to
Improve Access to Transit                                               NWSS Station NWSS Station         coordination
                                      FASTRACKS station area plans                                                        RTD and Denver project area
                                                                          Area Plan       Area Plan       with RTD on
                                                                                                                            on access to
                                                                                                        station footprint
                                                                                                                               station


                                      Changes to grade separations or   UPRR spur track relocation at Havana; all current grade-separated
Improve freight rail facilities
                                      use of lines, leads and spurs                             crossing retained



                                                                                                                                             Existing alignment north alternatives
Maintain truck stops                  Number of stops impacted                 1                0                         0                  require acquisition of Pilot truck stop on
                                                                                                                                             Steele St.


Maintain access to manufacturers,
                                                                                                                                             46th Ave. will be able to carry the traffic
warehouses and other local
                                      Distance to I-70                                               No change                               that was previously on I-70, so distance
employers for truck and employee
                                                                                                                                             will be maintained.
traffic


                                                                                                              Brighton St. becomes more
Maintain access to Riverside                                                                                                                   Access is maintained with all
                                    Changes to access                              No change               circuitous; I-70 becomes part of
Cemetery for visitors and neighbors                                                                                                            alternatives, realignment modifies access
                                                                                                          existing barrier of industrial uses.




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                                                                         Future Current Alignment               Future Realignment
                                                                                                                                             Justification for evaluation
             Interest                     Suggested Metrics                North            South              West                East


C) Safety: Provide a safe traveling and living environment


                                   Emergency response times are                                                                              Emergency response times on I-70
                                   dependent on routes determined by                                                                         improvement is more dependent on
Efficient emergency response times                                                 Emergency response times could improve.
                                   local agencies once the facility is                                                                       managed lanes alternatives than on
                                   constructed.                                                                                              alignments.



Provide a safe travel environment
                                                                                                                                             Facility will be safe if rebuilt, and it will be
(roadway, access ramps and other                                                   Facility rebuilt to current safety standards.
                                                                                                                                             rebuilt under all alternatives.
facilities)




Maintain safe and effective                                                                                                                  Facility will be safe if rebuilt, and it will be
                                                                          Facility rebuilt to current safety standards for hazmat routing.
hazardous materials routing                                                                                                                  rebuilt under all alternatives.




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                                                                      Future Current Alignment           Future Realignment
                                                                                                                                    Justification for evaluation
            Interest                      Suggested Metrics             North            South          West             East

ECONOMIC:
Promote economic activity in the corridor


                                   Number of businesses displaced         45               42             58              52

                                                                                                                                    In some cases, multiple properties may
Minimize economic impacts to                                                                                                        be needed for the operation of a single
                                   Building square footage removed     972,737,         1,272,070      595,368          588,832
individuals or businesses                                                                                                           business, or multiple businesses may be
                                                                                                                                    on one property.


                                   Properties acquired                    48               46            142              101


                                                                                                                                     All alternatives will increase safety,
                                                                     Consistent with Denver Station Allows for redevelopment of 46th mobility and connectivity. All will
Creative Economic Opportunities
                                                                     Area Plan Recommendations                   Avenue              accommodate for future growth and meet
                                                                                                                                     the projected traffic demands for 2035.



Avoids Total Acquisition of NWSS                                                  Yes                     No              Yes




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                                                                             Future Current Alignment                 Future Realignment
                                                                                                                                                       Justification for evaluation
              Interest                      Suggested Metrics                   North             South               West               East

ENVIRONMENTAL:
Minimize impacts to human and natural environment

                                                                                                                                                       Additional stream crossings impact
Protect natural resources (e.g.                                             Loss of wildlife habitat, riparian    Loss of wildlife habitat, riparian
                                    Impacts associated with new piers                                                                                  wetlands, wildlife habitat and open
South Platte River, Sand Creek, the                                          vegetation and 0.31 acres of          vegetation and 1.06 acres of
                                    and structures                                                                                                     space. Mitigation includes wetland and
Sand Creek Greenway)                                                             permanent wetlands                    permanent wetlands
                                                                                                                                                       vegetation replacement

                                                                                                                                                       There are no significant differences
                                                                                                                                                       between the alternatives, and none will
                                     % Change Tons/Year Between
                                                                                                                                                       cause violations of air quality standards.
Air quality                          Existing Alignment and                    Alignments Differ Less Than 1.2% Tons of Emissions/Year
                                                                                                                                                       More people live near existing alignment,
                                     Realignement
                                                                                                                                                       so more people would be exposed to
                                                                                                                                                       emissions.

                                                                                                                                                       More people live near existing alignment,
                                                                                                                                                       so more people would be exposed to
Protect health and safety of people Number of residential units within
                                                                                 899               883                 604                612          highway. There are no federal guidelines
living near the corridor            500 feet of the construction limits
                                                                                                                                                       for health risks associated with proximity
                                                                                                                                                       to a highway.

                                                                                                                                                       Dense areas of impacted receivers are
                                     Approximate % of residential units
Minimize noise impacts                                                           10%               11%                12%                12%           most likely to receive noise mitigation
                                     impacted with no mitigation in place
                                                                                                                                                       from the project
                                     Number of adverse effects to
                                                                                  34                 6                 11                 14
                                     historic properties
Minimize impacts to historic
resources                                                                                                                                              Wessel district affected by existing
                                     Number of adverse effects to
                                                                                   1                 0                  1                  0           alignment north, and NWSS affected by
                                     historic districts
                                                                                                                                                       realignment west.


                                                                                                                  Acquisition of     Acquisition of
                                                                         Acquisition of Acquisition of
                                                                                                                  NWSS, post        post office, 53
                                                                         93 residential, 64 residential
                                                                                                                     office, 18     residential and
                                                                               45             and 42                                                   The entire project area consists of low
                                                                                                                 residential and    58 commercial
                                                                          commcercial     commercial                                                   income and minority communities that
                                                                                                                 52 commercial        properties.
                                     Impacted Resources that effect low    properties,     properties                                                  are above the state and regional
Environmental Justice                                                                                              properties.         Proximity
                                     income and minority populations        Swansea         (including                                                 averages. There will be adverse effects
                                                                                                                     Proximity        impacts to
                                                                           Elementary        Purina).                                                  to these communities under all four
                                                                                                                    impacts to       NWSS, Elyria
                                                                        and the Denver      Proximity                                                  alternatives.
                                                                                                                 Elyria Park and       Park and
                                                                             Rescue        impacts to
                                                                                                                   FASTACKS          FASTRACKS
                                                                             Mission     Dunham Park
                                                                                                                      station.          station


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